C/J
 csc                                                                                                                      TV / ALL
                                                                                                     Transmittal Number: 28203304
Notice of Service of Process                                                                            Date Processed: 12/20/2023

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Fire and Casualty Company
                                              Entity ID Number 3461650
Entity Served:                                State Farm Fire & Casualty Co.
Title of Action:                              Jacquelyne D. Fiala and William T Fiala vs. State Farm Fire And Casualty
                                              Company
Matter Name/ID:                               Jacquelyne D. Fiala and William T Fiala vs. State Farm Fire And Casualty
                                              Company (15008417)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Chancery Court, TN
Case/Reference No:                            23-1461-III
Jurisdiction Served:                          Tennessee
Date Served on CSC:                           12/20/2023
Answer or Appearance Due:                     30 days
Originally Served On:                         TN - Dept of Commerce and Insurance on 12/04/2023
How Served:                                   Certified Mail
Sender Information:                           Jacguelyne D. Fiala, - Pro Se
                                              615-364-6251

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                              EXHIBIT
                                                                                                                A

           Case 3:24-cv-00050              Document 1-1            Filed 01/17/24          Page 1 of 140 PageID #: 5
        Department of
      Commerce&
 --,. Insurance




December 12, 2023




State Farm Fire & Casualty Co.                                   Certified Mail
2908 Poston Avenue C/O C S C                                     Return Receipt Requested
Nashville, TN 37203                                              7020 1290 0001 6215 3560
NAIC # 25143                                                     Cashier# 234967

Re:   Jacquelyne D Fiala Et Al V. State Farm Fire & Casualty Co.

      Docket# 231461


To Whom It May Concern

Pursuant to Tennessee Code Annotated §56-2-504 or§ 56-2-506, the Department of
Commerce and Insurance was served December 04, 2023, on your behalf in connection wit~
the above-styled proceeding. Documentation relating to the subject is herein enclosed.

Designated Agent
Service of Process

Enclosures

cc: Chancery Court Clerk
    Davidson County
    One Public Square, Suite 308
    Nashville, Tn 37201




                    State of Tennessee, Department of Commerce & Insurance
         500 James Robertson Parkway, Service of Process - 10th Floor, Nashville, TN 37243
                              Service. Process@tn.gov; 615-532-5260


 Case 3:24-cv-00050      Document 1-1        Filed 01/17/24      Page 2 of 140 PageID #: 6
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  2QTH   JUDICIAL DISTRICT
  CHANCERY COURT
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                                                                                                                                                   SUMMONS
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 Jacquelyne D. Fiala and William T. Fiala                                                                                                                                   State Farm Fire and Casualty Co.
                                                                                                                                                                            NAIC CoCode 25143                                                                                                                                                                                                            I
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                                                                                                                                                                                                                                                           Method of Service:
                  State Farm Fire and Casualty Co.
                  NAIC CoCode 25143
                  c/o TN Commissioner of Insurance                                                                                                                                                                                □ Certified Mail
                                                                                                                                                                                                                                  □ Davidson Co. Sheriff
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                                                                                                                                                                                                                                  □ *Secretary of State
                  13 \ of>\M\ ~-\-"D·vt ) I-\\\vto\ S, [Q\-=t-io                                                                                                                                                                  □ *Out of County Sheriff
                                                                                                                                                                                                                                  □ Private Process Server
                                                                                                                                                                                                                                  □ Other
 .List each defendant on a separate summons.                                                                                                                                                                                          *Attach Required Fees
  VbO ARE SOMMONEI) to DEFEND ;«fCIV'.J:C"ACTION"FI(ED-AGi\INS't YOifIN"CHA1\J'te"jfy CoUR'.t, DAVIDSON couutv;
  TENNESSEE. YOUR DEFENSE MUST BE MADE WITHIN THIRTY (30) DAYS FROM THE DATE THIS SUMMONS IS SERVED
  UPON YOU. YOU MUST FILE YOUR DEFENSE WITH THE CLERK OF THE COURT AND SEND A COPY TO THE PLAINTIFF'S
  ATTORNEY AT THE ADDRESS USTED BELOW. IF YOU FAIL TO DEFEND THIS ACTION BY THE ABOVE DATE, JUDGMENT
  BY DEFAULT CAN BE RENDERED AGMNST YOU FOR THIE.REUEF SOUGHT IN THE COMPUUNT.
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  (Name, address & telephone number)
 Jacquelyne D. Fiala                                                                                                                                                         FOR CLERK USE ONLY
                                                                                                                                                                                                                                                                                 NOV 1 7 2023
 7707 Indian Springs Drive                                                                                                                                         M~RIA M: SALAS, Clerk arid Master·~ ........
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 Nashville, TN 37221                                                                                                                                               By:                     1 Public Square
  615) 364-6251                                                                                                                                                                            Suite308
                                                                                                                                                                                           Nashville, TN 37201


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         The disposition date of this case is twelve months from date of filing. The case must be resolved or set for trial by
  this date or it will be dismissed by the Court for failure to prosecute pursuant to T.R.C.P. 41.02 and Local Rule 18.
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          If you think the case will require more than one year to resolve or set for trial, you must send a letter to the Clerk                                                                                                                                                                                                                                                                         I
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   and Master at the earliest practicable date asking for an extension of the disposition date and stating your reasons.
   Extensions will be granted only when exceptional circumstances exist.
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      ***Submit one original plus one copy for each defendant to be served.

                                                             bADA Coordinator, Maria M. Salas (862-5710)
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                                                                                                                                                                                                                                                                                                                 2023

                 Case 3:24-cv-00050                                                Document 1-1                                                                         Filed 01/17/24                                          Page 3 of 140 PageID #: 7
                                            RETURN ON SERVICE OF SUMMONS

      I hereby return this summons as follows: (Name of Party Served)

D Served                                                                      □ Not Found
0 Not                                                                         □ Other
   Served
Date of Return:                                                        By:

Agency Address:                                                           Sheriff/or other authorized person to serve process

                                          RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return that on the          day of                                 20_ , I sent, postage prepaid, by registered return
receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case                            to
the defendant                                       On the        day of                                          , 20_, I received the return
                                                             -
receipt, which had been signed by                                            on the _ _ day of                                       20
The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.
Sworn to and subscribed before me on this _ _ day of                         Signature of plaintiff, plaintiffs attorney or other person
          ,20_.                                                              authorized by statute to serve process.
Signature of __ Notary Public or _ _ Deputy Clerk


Mv Commission Exoires:
                   NOTICE OF PERSONAL
                  PROPERTY EXEMPTION
TO THE DEFENDANT(S):
     Tennessee law provides a ten thousand dollar ($10,000.00)
debtor's equity interest personal property exemption from execution or
 seizure to satisfy a judgment. If a judgment should be entered against
,you in this action and you wish to claim property as exempt, you must
file a written list, under oath, of the items you wish to claim as exempt
with the clerk of the court. The list may be filed at any time and may
be changed by you thereafter as necessary; however, unless it is filed
before the judgment becomes final, it will not be effective as to any
execution or garnishment issued prior to the filing of the list. Certain
 items are automatically exempt by law and do not need to be listed;                                   ATTACH
these include items of necessary wearing apparel (clothing) for yourself
                                                                                                       RETURN
and your family and trunks or other receptacles necessary to contain
 such apparel, family portraits, the family Bible, and school books.                                   RECEIPT
 Should any of these items be seized you would have the right to                                        HERE
 recover them. If you do not understand your exemption right or how to                            (IF APPLICABLE)
 exercise it, you may wish to seek the counsel ofa lawyer.

    Mail list to: Clerk & Master
                  I Public Square
                   Suite 308
                  Nashville TN 37201

Please state file number on list.
                                             CERTIFICATION (IF APPLICABLE)
I, Maria M. Salas, Clerk & Master of the Chancery Court in the State         MARIA M. SALAS, Clerk & Master
of Tennessee, Davidson County, do certify this to be a true and correct
copy of the original summons issued in this case.                            By:
                                                                                                                    D.C.&M.




        Case 3:24-cv-00050                 Document 1-1             Filed 01/17/24             Page 4 of 140 PageID #: 8
                                           COPY
      IN THE CHANCERY COURT FOR THE TWENTIETH JUDICIAL DISTRICT
                       AT NASHVILLE, TENNESSEE

 JACQUELYNE D. FIALA and                              )
 WILLIAM T. FIALA,                                    )
                                                      )
        Plaintiffs,                                   )
                                                      )
 v.                                                   )
                                                      )
                                                             Case No.   a.3 - l !.fb 1-m:
 STATE FARM FIRE AND CASUALTY                         )      JURY DEMAND
 COMPANY,                                             )
                                                      )
        Defendant.                                    )


                                           AFFIDAVIT


        Comes now Plaintiff Jacquelyne D. Fiala who, under penalties of perjury, after being duly

 sworn, states as follows:

        1.      I am a resident of the State of Tennessee and over the age of eighteen (18).

        2.      The last known address for Defendant State Farm Fire and Casualty Company is

One State Farm Plaza, Bloomington, Illinois 61710. This address is Defendant's Business Address,

Mailing Address, Statutory Home Office Address, and Main Administrative Office Address, as

provided in the NAIC database.

        3.      Defendant State Farm Fire and Casualty Company's NAIC CoCode is 25143.

 Further Affiant Saith Not.




                                                  1



Case 3:24-cv-00050            Document 1-1      Filed 01/17/24       Page 5 of 140 PageID #: 9
 State of Tennessee

 County of Davidson

 On this the seventeenth day of November, 2023, before me personally appeared Jacquelyne D.
 Fiala to me known to be the person described in and who executed the foregoing instrument, and
 acknowledged that she executed the same as her free act and deed, for the purposes therein set
 forth.                                     ~
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                                CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was served upon Defendant State Farm
 Fire and Casualty Company via service to the Commissioner of the Tennessee Department of
                                                        1
 Commerce and Insurance with the Complaint.


                                                            By: Isl Jacquelyne D. Fiala
                                                            Jacquelyne D. Fiala




                                                2



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Case 3:24-cv-00050   Document 1-1   Filed 01/17/24   Page 7 of 140 PageID #: 11
                                                                                                    E-FILED
                                                                                        11/15/2023 12:28 PM
                                                                                         CLERK & MASTER
                                                                               DAVIDSON CO. CHANCERY CT.

       IN THE CHANCERY COURT FOR THE TWENTIETH JUDICIAL DISTRICT
                        AT NASHVILLE, TENNESSEE

JACQUELYNE D. FIALA and                              )
WILLIAM T. FIALA,                                    )
                                                     )
        Plaintiffs,                                  )
                                                     )
v.                                                   )       Case No.
                                                     )
STATE FARM FIRE AND CASUALTY                         )       JURYDEMAND
COMPANY,                                             )
                                                     )
        Defendant.                                   )


                                         COMPLAINT


        Come now Plaintiffs, Jacquelyne D. Fiala and William T. Fiala (collectively, "Plaintiff' or

"Insureds"), and respectfully file their Complaint against Defendant, State Farm Fire and Casualty

Company ("State Farm"), and avers as follows:

                               PARTIES AND JURISDICTION

        1.     The Insureds are residential homeowners of the property located at 7707 Indian

Springs Drive, Nashville, Tennessee 37221 (the "Property"). The Insureds are residents of and

domiciled in the State of Tennessee.

        2.     Defendant State Farm Fire and Casualty Co. is an insurance company domiciled in

the State of Illinois, NAIC CoCode 25143, that writes homeowners' insurance policies in the State

of Tennessee. Pursuant to Tenn. Code Ann. § 56-2-504, State Farm can be served with process

through the Commissioner of the Tennessee Department of Commerce and Insurance.

        3.      Jurisdiction is proper with this Court pursuant to Tenn. Code Ann.§ 16-11-101, et

seq.

        4.     Venue is proper in this Court pursuant to Tenn. Code Ann. § 20-4-101, et seq.

                                                 1
 Case 3:24-cv-00050        Document 1-1        Filed 01/17/24     Page 8 of 140 PageID #: 12
                                             FACTS

          5.    State Farm Fire and Casualty Company insures the Property pursuant to the terms

in the applicable Homeowners' Policy, Policy No. 42B6P0230 (the "Homeowners' Policy").

Pursuant to Tenn. R. Civ. P. 10.03, State Farm is in possession of a copy of the Homeowners'

Policy.

          6.    The Homeowners'        Policy provides that "deductibles       are   applied per

occurrence." The Homeowners' Policy defines "occurrence" to mean "an accident ... , which

results in ... (b) property damage." The Homeowners' Policy further explains, "[a]11 bodily injury

or property damages resulting from one accident, series of related accidents, or from continuous

or repeated exposure to the same general conditions is considered to be one occurrence."

(Emphasis added).

          7.    In or around March 2022, the double-layer shingk roof and interior ceilings of the

Property suffered damage as a result of a storm that produced hail, heavy winds, and heavy rain.

          8.    The damage to the Property was apparent from water stains on the ceilings of the

Property's kitchen, living room, dining room, and adjacent hallway. Photos of the water stains are

attached as collective Exhibit A.

          9.    Shortly after the damage became apparent, Insureds began working with Mighty

Dog Roofing to assist with the repair work to the Property and the insurance claim process.

          10.   Mighty Dog Roofing inspected the Property's roof in the spring of2022 and found

substantial hail damage to the roof.

          11.   According to Mighty Dog Roofing's inspection, the Property required a full roof

replacement.




                                                 2

 Case 3:24-cv-00050         Document 1-1       Filed 01/17/24     Page 9 of 140 PageID #: 13
       12.     On or around April 6, 2022, Insureds filed Claim No. 4242K709Z related to the

damage to the Property's roof and interior ceilings.

       13.     In the spring of 2022, State Farm sent two adjusters to the Property, one to estimate

the exterior damage to the roof and the second to estimate the interior, related water damage.

       14.     On May 2, 2022, State Farm emailed Insureds to notify them that the exterior

adjuster did not find any wind damage on the Property's roof. A copy 6f the May 2, 2022 email

from State Farm is attached as Exhibit B.

       15.     State Farm provided an estimate for the interior damage to the Property with the

May 2, 2022 email totaling $682.04.

       16.     State Farm's May 2, 2022 estimate did not include any cost of repairs or

replacement to the roof of the Property.

       17.     On or around May 6, 2022, State Farm sent Insureds a letter notifying them that the

loss (calculated without any repair cost for the roof) did not exceed the Homeowners' Policy's

deductible, so State Farm would not be issuing payment. A copy of the May 6, 2022 letter from

State Farm is attached as Exhibit C.

       18.     On or around June 1, 2022, upon inquiring whether State Farm's exterior adjuster

inspected for hail damage, in addition to damage from wind, State Farm indicated the first exterior

adjuster only inspected for wind damage.

       19.     On June 21, 2022, Insureds emailed State Farm a letter enclosing (1) a cover letter

requesting an inspection for hail damage; (2) correspondence from Mighty Dog Roofing

summarizing the report; (3) photos of hail damage to the Property's roof; and (4) an estimate for

the recommended full roofreplacement. A copy of Insureds' June 21, 2022 email and attachments

is attached as collective Exhibit D.



                                                 3

Case 3:24-cv-00050         Document 1-1       Filed 01/17/24      Page 10 of 140 PageID #: 14
         20.    Mighty Dog Roofing's report and photos of the Property's roof shows "clear

 images of (1") collateral [damage] on the skylights." The report explains that the flashing on the

 skylights is a heavier gauge metal than typical flashing, so the one-inch dents are evidence of hail

 damage.

         21.    State Farm failed provide a written response to Insureds' June 21, 2022

 correspondence.

         22.    More than a month later, on July 27, 2022, a second exterior adjuster, Vic, from

 State Farm visited the Property.

        23.     State Farm's July 27, 2022 inspection found hail damage to the roof of the Property.

        24.     Vic left a voicemail for Insureds on July 27, 2022 after inspecting the roof of the

 Property. Vic's July 27, 2022 voicemail indicates that the repair cost for the exterior hail damage

 to the Property totals $6,924.06, which is below the deductible in the Homeowners' Policy so no

• payment would issue. The voicemail further states that State Farm would send a letter to Insureds

 outlining the information conveyed in the voicemail.

        25.     State Farm never sent Insureds any documentation related to Vic's July 27, 2022

 exterior hail damage repair estimate totaling $6,924.06.

        26.     Based on the July 27, 2022 voicemail, upon information and belief, State Farm

 improperly determined that a full roof replacement was not warranted.

        27.     The same day, on July 27, 2022, Insureds called State Farm to discuss Vic's

 findings and left a voicemail.

        28.     State Farm failed to return Insureds' July 27, 2022 telephone call or otherwise

 respond to Insureds.




                                                  4

 Case 3:24-cv-00050         Document 1-1       Filed 01/17/24      Page 11 of 140 PageID #: 15
       29.      On or around September 17, 2022, State Farm provided a revised estimate for the

repairs to the Property directly to Mighty Dog Roofing's Supplements team. A copy of State

Farm's September 17, 2022 is attached as Exhibit E.

        30.     State Farm failed to notify Insureds that it had issued a revised estimate.

        31.     State Farm's September 17, 2022 estimate provides for the repair of 7.04 square

feet of the roof at the Property.

        32.     The total cost of roof repairs pursuant to the September 17, 2022 estimate is

$6,368.52.

        33.     The September 17, 2022 estimate also provides for repairs to the interior ceilings

totaling $937.25 in the kitchen only.

        34.     The September 17, 2022 estimate fails to include any costs to repair the interior

ceilings in the living room, dining room, or the adjacent hallway.

        35.     The September 17, 2022 estimate fails to consider applicable building codes that

prohibits repairs of double-layer shingle roofs and require replacement.

        36.     On September 20, 2022, the Supplements team at Mighty Dog Roofing emailed

State Farm, on behalf of and copying Insureds, asking which shingles are covered for the repair.

A copy of Mighty Dog Roofing's September 20, 2022 email is attached as Exhibit F.

        37.     State Farm did not respond to Mighty Dog Roofing's September 20, 2022 email.

        38.     On September 27, 2022, Mighty Dog Roofing's Supplements team again emailed

State Farm. A copy of Mighty Dog Roofing's September 27, 2022 email to State Farm is attached

as Exhibit G.

        39.     State Farm did not respond to Mighty Dog Roofing's September 27, 2022 email.




                                                  5

Case 3:24-cv-00050          Document 1-1       Filed 01/17/24      Page 12 of 140 PageID #: 16
        40.    Also on September 27, 2022, Insureds emailed State Farm requesting a copy of

State Farm's most recent estimate from the July 27, 2022 adjuster visit and informing State Farm

of the applicable building code that prohibits repairs of double-layer shingle roofs and require

replacement. A copy of Insureds' September 27, 2022 email to State Farm is attached as Exhibit

H.

        41.    :state Farm did not respond to Insureds' September,.27, 2022 email.

        42.    On September 30, 2022, Insureds sent State Farm an email outlining the history of

their claim. Insureds' September 30, 2022 email notes that the claim has been pending for over

six months, and the delay is attributable to State Farm actions and inaction. The email requests that

the claim be escalated to management. A copy of Insureds' September 30, 2022 email to State

Farm is attached as Exhibit I.

        43.    State Farm did not respond to Insureds' September 30, 2022 email.

        44.    Rather than receiving a written response to their September 30, 2022 email, in or

around early October 2022, a claims representative - not management level - contacted Insureds

by telephone. During the call, Insureds requested and State Farm agreed to issue a written response

to their September 30, 2022 email.

        45.    State Farm never sent Insureds' a written response to their September 30, 2022

email, as promised by State Farm's claims representative during the early October 2022 phone

call.

        46.    On October 18, 2022, Insureds sent State Farm an email stating, "I still have not

received a written response to my above email, as you promised over the phone." The email

requests that all future communication on this claim be in writing. A copy of Insureds' October

18, 2022 email is attached as Exhibit J.



                                                 6
Case 3:24-cv-00050         Document 1-1        Filed 01/17/24      Page 13 of 140 PageID #: 17
        47.     On October 19, 2022, State Farm sent Insureds an email purporting to attach a

written response that it allegedly sent on October 1, 2022. There was no attachment to State Farm's

October 19, 2022 email.

        48.     Insureds never received State Farm's October 1, 2022 email because it was sent to

an email address that was not in use. State Farm knew by at least spring 2022 that Insureds' old

email was not in use and where communication should be sent. A copy of State Farm's October

19, 2022 email and Insureds' October 19, 2022 response to State Farm is attached as collective

Exhibit K.

        49.     On October 22, 2022, State Farm sent Insureds a copy of the September 17, 2022

estimate for the first time.

        50.     Despite written requests and requests over the phone, State Farm failed to

adequately communicate with Insureds regarding their claim.

        51.     State Farm never contacted Insureds in writing or over the phone.

        52.     Having received no communication from State Farm in months, Insureds contacted

their State Farm agent who wrote the Homeowners' Policy, Marty Luffman, to assist with the

processing of their claim.

        53.     Insureds were informed that Mr. Luffman was "retired" and there was no one at the

local office to assist with the claim. The office staff provided Mr. Luffman's cell phone number

although there was no promise of assistance.

        54.     Insureds contacted Mr. Luffman m or around March 2, 2023.              During the

conversation, Mr. Luffman and Insureds discussed the applicable building code that requires

shingles used during a partial roof repair/replacement match the size, shape, and color of existing




                                                 7
Case 3:24-cv-00050             Document 1-1    Filed 01/17/24    Page 14 of 140 PageID #: 18
shingles on the roof. Mr. Luffman advised that if Insureds sent him a copy of applicable building

code(s), he would escalate the matter at within State Farm.

       55.     On March 2, 2023, Insureds sent Mr. Luffman the requested building code sections,

Tenn. Comp. R. & Regs. 0780-01-05-.10 and Metropolitan Nashville Building Code§ 16.08.010,

which incorporates by reference International Building Code § 15 .11.3 .1.1 (3). A copy of Insureds'

March 2, 2023 email is attached as Exhibit L.

       56.     Mr. Luffman did not respond to Insureds' March 2, 2023 email.

       57.     On March 17, 2023, State Farm requested Insureds send an estimate for a full roof

replacement.

       58.     On March 28, 2023, Insureds' replacement roofing contractor, Music City Roofers,

sent an email to State Farm, on behalf of and copying Insureds, attaching the requested estimate

for a full roof replacement for the Property totaling $36,247.05. A copy of Music City Roofers'

March 2, 2023 email and estimate is attached as collective Exhibit M.

       59.     On or around April 4, 2023, State Farm sent Insureds a letter stating it would

reconsider their claim. A copy of State Farm's April 4, 2023 letter is attached as Exhibit N.

       60.     On or around April 19, 2023, Music City Roofers contacted State Farm on behalf

of Insureds to determine the documentation that State Farm requested in its April 4, 2023 letter.

State Farm informed Music City Roofers over the phone that State Farm needed additional photos

showing the issues with reparability.

       61.     On April 26, 2023, Music City Roofers, sent an email to State Farm, on behalf of

and copying Insureds, attaching photo report containing 34 photos of the Property's roof. A copy

of Music City Roofers' April 26, 2023 email and attached photo report is attached as Exhibit 0.




                                                  8

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        62.    Music City Roofers' photo report includes photos showing the size, color, and

shape of the Property's existing shingles, all roof raises and ridges, and the number and

measurement of the six existing skylights and associated flashing.

        63.    Between April 26, 2023 and May 17, 2023, Insureds left repeated voicemails .at

State Farm. The attempted calls are documented in Insureds' May 17, 2023 email to State Farm

attached, as Exhibit P.

        64.     State Farm failed to respond in writing to Insureds' May 17, 2023 email.

        65.    When State Farm finally responded to Insureds via telephone in or around late

May/early June 2023, State Farm's representative indicated that State Farm was going to approve

a partial roof replacement.

        66.    By email dated June 5, 2023, Music City Roofers again informed State Farm that

Tennessee is a "matching state," so replacement shingles must match existing shingles. Music

City Roofers further noted that the shingles on the existing roof are discontinued, so it is impossible

to match the shingles for a partial replacement. A copy of Music City Roofers' June 5, 2023 email

is attached as Exhibit O.

        67.     On or around June 7, 2023, State Farm requested, via telephone, that Insureds leave

a sample shingle on the front porch of the Property, so State Farm could perform a matching

analysis. The matching analysis would determine whether new matching shingles could be

purchased.

        68.     On or around June 13, 2023, Insureds put the shingle sample on the front porch of

the Property as requested by State Farm.

        69.     On July 13, 2023, State Farm sent Insureds a letter with the results of a match test

for siding.



                                                   9

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       70.     Insureds responded to State Farm by email dated July 13, 2023, stating their claim

did not involve any siding.

       71.     On July 14, 2023, State Farm sent Insureds the results of the shingle match test.

       72.     State Farm asked Insureds to purchase the shingles that were recommended in the

match test results and compare them to the existing shingles at the Property.

       73.     On or around July 19, 2023, Music City Roofers compared the shingles

recommended by State Farm to the existing shingles at the Property. Music City Roofers took

photographs comparing the size and color of the shingles recommended by State Farm to the

singles on the roof at the Property.

       74.     The shingles recommended by State Farm in its match test were different in size

and color from the shingles on the existing roof at the Property.

       75.     ·On July 21, 2023, Music City Roofers sent State Farm, on behalf of and copying

Insureds, a copy of the report comparing the recommended shingles to the existing shingles. The

report includes 18 photographs of the recommended shingles compared side by side on the roof of

the Property. A copy of Music City Roofers' July 21, 2023 email and shingle comparison report

is attached as collective Exhibit R.

       76.     On July 31, 2023, Music City Roofers sent State Farm an email again attaching its

shingle comparison report and also attaching results from an independent match test performed at

the request of Insureds and Music City Roofs.

       77.     The independent match test showed that the shingles on the roof at the Property

were, indeed, discontinued and unavailable, though a match was available on the market. A copy

of the Itel independent match test is attached as Exhibit S.




                                                 10
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        78.    After multiple attempts to reach State Farm via email and telephone between July

31, 2023 and August 8, 2023, State Farm informed Insureds over the phone on or around August

8, 2023 that (1) State Farm was denying Insureds' claim for a full roof replacement; and (2) State

Farm would send out another adjuster to review the interior damage in the rooms that were not

included in the most recent estimate.

        79.    State Farm.failed to send an adjuster to review the interior damage, as promised.

        80.    State Farm failed to notify Insureds in writing via email or regular mail of the

change in their claim status.

        81.    On or around October 9, 2023, State Farm informed Insureds via voicemail that

Insureds' claim again had been reassigned to a new claims handler.

        82.    The October 9, 2023 voicemail from State Farm further notified Insureds that State

Farm management reviewed Insureds' claim and added another slope of the roof to the area State

Farm agreed required replacement.

        83.    State Farm failed to notify Insureds in writing via email or regular mail of State

Farm's agreement to include another roof slope in the necessary repairs.

        84.    The October 9, 2023 voicemail further acknowledges that there is a size difference

between the existing shingles on Insureds' roof and the replacement shingles proposed by State

Farm.

        85.    State Farm failed to notify Insureds in writing via email or regular mail that there

is a size difference between the existing shingles on Insureds' roof and the replacement shingles

proposed by State Farm.




                                                11
Case 3:24-cv-00050         Document 1-1       Filed 01/17/24     Page 18 of 140 PageID #: 22
       86.     The October 9, 2023 voicemail further notified Insureds that, even with the addition

of the second roof slope to the proposed repairs, the total cost of the repairs still would not exceed

the deductible on Insureds' policy.

        87.    State Farm failed to notify Insureds in writing via email or regular mail that a new

estimate had been performed for the repair of an additional roof slope.

      , 88.    State Farm further failed to provide Insureds the opportunity to obtain an

independent estimate for the repair of the additional roof slope.

       89.     Despite multiple requests from Insureds via phone and email, to date, State Farm

has failed to send an adjuster to review the damage to the interior ceilings in the living room, dining

room, and adjacent hallway or to provide an estimate for those repairs.

       90.     Despite multiple requests from Insureds, via phone and email, to date, State Farm

has not sent a denial of Insureds' claim in writing.

       91.     To date, State Farm has failed to fund the partial roof repair or the interior damage

to the Property.

       92.     Over the approximate eighteen months of the life of Insureds' claim, State Farm

has reassigned Insureds' claim to different claims representatives at least fourteen times.

       93.     The repeated reassignment of Insureds' claim resulted in additional, unnecessary

delays in the resolution of the claim.

       94.     Marty Luffman's long-term unavailability to assist with the processing of Insureds'

claim and his failure to assign his duties as agent to another individual resulted in additional,

unnecessary delays in the resolution of the claim.




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                           First Cause of Action: Breach of Contract

       95.     Insureds reincorporate the preceding paragraphs as if fully set forth herein.

       96.     Insureds' Homeowners' Policy is a valid, enforceable contract.

       97.     State Farm has a contractual duty pursuant to the Policy to fund repairs to the

Property resulting from wind or hail damage in excess of the Policy's deductible.

       98.     State Farm is contractually obligated to process claims under the Policy in good ,

faith with respect to timeliness of resolution of claims.

       99.     State Farm is contractually obligated to process claims under the Policy in good

faith with respect to reasonableness of approvals and denials for claims under the Policy.

       100.    The damages to the Property are covered losses under the Policy.

       101.    State Farm breached the above duties by failing to fund repairs in excess of the

deductible that constitute covered losses to the Property, failing to process Insureds' claim in a

reasonably timely manner in good faith, and by denying the claim in bad faith.

       102.    As a direct and proximate cause of State Farm's breaches, Insureds have suffered

damages in an amount to be proven at trial but no less than $200,000.00.

               Second Cause of Action: Violation Tenn. Code Ann.§ 56-7-105

       103.    Insureds reincorporate the preceding paragraphs as if fully set forth herein.

       104.    Upon information and belief, State Farm knowingly failed to acknowledge with

reasonable promptness pertinent communications with Insureds about their claim.

       105.    Upon information and belief, State Farm knowingly failed to adopt and implement

reasonable standards for the prompt investigation and settlement of Insureds' claim.




                                                 13

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          106.   Upon information and belief, State Farm knowingly failed to attempt in good faith

to effectuate prompt, fair and equitable settlement of Insureds' claim for the partial roof

replacement and interior damage after liability has become reasonably clear.

          107.   Upon information and belief, State Farm knowingly failed to attempt in good faith

to effectuate prompt, fair and equitable settlement of Insureds' claim for the full roof replacement

and interior damage after liability has become reasonably clear.

          108.   State Farm knowingly refused to pay Insureds' claim without conducting a

reasonable investigation.

          109.   State Farm knowingly failed to affirm or deny coverage of Insureds' claim within

a reasonable time after the proof of loss statement has been completed.

          110.   State Farm knowingly unreasonably delayed the investigation of Insureds' claim

by requiring both a formal proof of loss form and subsequent verification that resulted in

duplication of information.

          111.   State Farm's failure to pay Insureds' claim was not in good faith.

          112.   State Farm's acts and omissions have directly and proximately caused damage to

Insureds in an amount to be proven at trial not less than $200,000.00, plus pre- and post-judgment

interest, costs, expenses, and attorney's fees.

             Third Cause of Action: Violation Tennessee Consumer Protection Act

          113.   Insureds reincorporate the preceding paragraphs as if fully set forth herein.

          114.   State Farm knowingly violation Tenn. Code Ann. § 47-18-101, et seq.

          115.   State Farm knowingly misrepresented that Insureds' Homeowners' Policy would

pay for covered home repairs in excess of the policy deductible when Insureds' purchased the

Policy.



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           116.   State Farm advertised that they would pay for covered home repairs in excess of

the policy deductible.

           117.   State Farm's advertised message knowingly created a false impression of the

quality, value, and usability of the services offered under the Insureds' Policy.

           118.   State Farm knowingly delayed the settlement of Insureds' claim by, among other

things, repeatedly changing claims representatives throughout the claim process, requiring

Insureds to complete duplicative tasks promising issuance of payment, and repeatedly verbally

informing Insureds that a full roof replacement would be approved when it never intended to

approve it.

           119.   State Farm's acts and omissions have directly and proximately caused damage to

Insureds in an amount to be proven at trial not less than $200,000.00, treble damages, plus pre-

and post-judgment interest, costs, expenses, and attorney's fees.

WHEREFORE, premises considered, the Insureds pray:

      I.          That process issue for State Farm Fire and Casualty Company requiring it to answer

or otherwise respond to this Complaint within the time frame mandated by law;

     II.          That a jury of twelve persons be empaneled to try all issues triable in this matter;

    III.          That the Court enter judgment against State Farm Fire and Casualty Company

finding it liable for the claims set forth herein;

    N.            That the Court award the Insureds actual damages in an amount not less than

$50,000.00, plus pre- and post-judgment interest at the maximum rate permitted by law;

     V.           That the Court award the Insureds punitive damages;

    VI.           That the Court award the Insureds costs and reasonable attorney's fees as permitted

under applicable law and the Homeowners' Policy;



                                                     15
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  VII.     Any such further relief as the Court may deem just and appropriate.


                                        Respectfully submitted,


                                        By: Isl Jacquelyne D. Fiala .
                                              Jacquelyne D. Fiala (TN Bar No. 30498)
                                              7707 Indian Springs Drive
                                             Nashville, Tennessee 37221
                                              Tel: (615) 364-6251
                                             j ackiedfiala@gmail.com




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                           E-FILED




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Case 3:24-cv-00050   Document 1-1   Filed 01/17/24   Page 28 of 140 PageID #: 32
                                                                                                          E-FILED
                                                                                               11/15/202312:28 PM
                                                                                                CLERK & MASTER
                                                                                      DAVIDSON CO. CHANCERY CT.

From:"HOME CLMS-FIRECLAIMS" <statefarmfireclaims@statefarm.com>
Sent:Mon, 2 May 2022 18:34:39 +0000
To:"JACKI E.GARFI ELD@WALLERLAW.COM" <JACKI E.GARFI ELD@WALLERLAW .COM>
Cc:"DF - FIRE - Drop File Document" <DF-FIRE-CL@internal.statefarm.com>
Subject:42-32K7-09Z
Attachments:2-Customer Copy 3860486743.pdf

Mrs. Fiala,
Please see the attached copy of the estimate. As I explained on my voicemail there was not any wind
related damage found to the roof. itwill send a letter explaining the claim is a loss below your dJductible
                                                                                                   I
as it wasn't reached. If you hc;1ve any questions please reach out. Thank you.                    ·1
                             \     !                                                       \




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FIALA,BILL                                                                                                               42-32K7-09Z



                                               A State Farm®
                                                         State Farm
                                                       P.O. Box 106169
                                                   Atlanta, GA 30348-6169
                                                     Fax: 1-844-236-3646
                                             statefarmfireclaims@statefarm.com



                                         Structural Damage Claim Policy


    This estimate is priced based on estimated market pricing for the cost of materials, labor, and other factors at the time
    of the loss.

    Adjustments in market pricing and timing of the repairs may impact the final cost of covered repairs. Should you or
    the contractor you select have questions concerning our estimate, please contact us. If your contractor's estimate is
    higher than ours, you should contact us prior to beginning repairs. State Farm will work with you and your contractor
    to determine the actual and necessary cost of covered repairs at the time repairs will be completed, subject to policy
    terms, conditions and limits.

        • We want you to receive quality repair work to restore the damages to your property.

        • We will provide you with a detailed estimate of the scope of the damage and costs ofrepairs. Should the
          contractor you select have questions concerning our estimate, they should contact your claim representative
          directly.

        • Depending upon the complexity of your repair, our estimate may or may not include an allowance for general
          contractor's overhead and profit. If you have questions regarding general contractor's overhead and profit and
          whether general contractor services are appropriate for your loss, please contact your claim representative
          before proceeding with repairs.

        • There may be building codes, ordinances, laws, or regulations that affect the repairs of your property. These
          items may or may not be covered by your policy. Please contact your claim representative if you have any
          questions regarding coverage which may be available under your policy.

        • State Farm® cannot authorize any contractor to proceed with work on your property. Repairs should proceed
          only with your authorization.

        • State Farm does not guarantee the quality of the workmanship of any contractor or guarantee that the work will
          be accomplished within any specific time frame.

        • It is understood that the contractor is hired by you, our insured, and that they work for you - not State Farm.

    If you have any questions or need additional information regarding your claim, please contact your claim
    representative immediately.




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                                                                                                                                                                                                                                                42-32K7-09Z


A State farm®                                                            Building Estimate Summary Guide
                This summary guide is based on a sample estimate and is provided for reference only.
                                                                  Please refer to the estimate for specifics of your claim.

                                                           State Farm Insurance                                                                                                                             1. Line Item Total - Total value of all line
                                                                                                                                                                                                               items in the estimate plus possible
            Insured: Smith, Joe & Jane                                                                                                    Estimate:                 00-0000-000                                adjustments for labor minimums. Labor
                                                                                                                                                                                                               Minimum is to cover a certain minimum
          Property:       1 Main Street                                                                                       Claim number:                         00-0000-000                                number of hours for drive-time, set up
                          Anywhere, IL 00000-0000                                                                        Policy Number:                             00-00-0000-0                               time and applicable administrative
                                                                                                                                                                                                               costs and repairs.
      Type of Loss:       Other                                                                                                           Price List:               ILBL8F_MAR 13
        Deductible: $1,000.00                                                                                                                                       Restoration/Service/                    2. General Contractor's Overhead and
                                                                                                                                                        \           Remodel                                    Profit - General contractor's charge for
                                                                                                                                                                    F = Factored In,                           coordinating your repairs.
                                                                                                                                                                    D = Do Not Apply
                                                                                                                                                                                                            3. Replacement Cost Value (RCV) -
                                                           Summary for Dwelling                                                                                                                                Estimated cost to repair or replace
                                                                                                                                                                                                               damaged property.
 Line Item Total IT]
                                                                                                                                                                                                            4. Depreciation - The decrease in the
 Material Sales Tax                                                                     @                                  _,,
                                                                                                                 10.000% X 1,520.00                                                                            value of property over a period of time
                                                                                                                                                \
 Subtotal                                                                                                                                           \                                 6,105.10·'               due to wear, tear, condition, and
                                                                                                                                            '                                           '- .....--:-
                                                                                                                                                        \                                                      obsolescence. A portion or all of this
 General Contractor Overhead 11]                            ..···10:0!'/o X '•6, 105.10 @                                                                                          ,)._, .. ·6'10.51           amount may be eligible for replacement
                                                    _,. -r·----,.,_     \     \.... \,.
 General Contractor Profit                @ ..'-: \ 1o,oo/9x 6, 105.1Q                                                                                                                                         cost benefits.
                                            ,):-~ '\,•       \      J /             '   ~.,                                                                           ~-•c•


 Replacement Cost Value (Including Gene~al O~mtract~r Ov_ElJhead and P~ofttQJ                                                                                                       7,326.12
                                                                                 1 '         '\             ..            ~                                  ·>·"                                           5. Deductible - The insurer will pay for
 Less Depreciation (Including Taxes) @]                                           \\\, \.                        \            \                             ,.                        (832.50)                 losses, up to the policy limits, in excess
                                                            ...                   )J              \                  \            \
                                                                                                                                                                                                               of your applicable deductible.
 Less General Contractor Overheaa & Profif1oA,Rec;overable &::.r
                                       .,,,...,.~.' i~. . .-,_     ...... ··.      \t        •        '\,                ,,           ~
 Non - recoverable Depreciation\ •                                              ·,<.i                   \ ,-··•                                                                       (166.50)              6. Net Actual Cash Value Payment
                                                           •.\                          I                                                                                                                      (ACV) - The repair or replacement cost
 Less Deductible [fil ,                                      '-\                        '
                                                                                                                                                                                                               of the damaged part of the property
 Net Actual Cash V~,h,!_~-,Pay(Tlent                         @]\                        "                                                                                                                      less depreciation and deductible.
   ,._;:"'.::-::.'>\ ';\ ••• , .. ~ ....___~_ ~                    )_.:;;:?'
                                                                                                                                                                                                            7. Non Recoverable Depreciation -
 , '{        ··cMaxirrj1,1n1...Aq9iti'onal Amounts Available If Incurred:
      k,_..,_____           1(            ...{<"                                                                                                                                                               Depreciation applied to items that are
  .                  •       i\                                                                                                                                                                                not eligible for replacement cost
Tcital.Line:ltem ~ep~:~ciation (Including Taxes) @]                                                                                                 832.50                                                     benefits.
Less•f),!~m - rE:,c~ter~ble Depreciation (Including Taxes) [TI
       ·, .. _____._,..                                                                                                                                                                                     8. Total Maximum Additional Amount if
Subtotal., __ /                                                                                                                                                           312.50                               Incurred - Total amount of
 General Contractor O&P on Depreciation                                                                                                             166.50                                                     recoverable depreciation after actual
                                                                                                                                                                                                               repair or replacement of the property.
 Less General Contractor O&P on Non - recoverable Depreciation
                                                                                                                                           ----
 Subtotal                                                                                                                                                                                                   9. Total Amount of Claim if Incurred -
                                                                                                                                                                                                               Total amount of the claim, including net
 Total Maximum Additional Amounts Available If Incurred []]                                                                                                                                                    actual cash value payment and total
 Total Amount of Claim If Incurred [g]                                                                                                                                                                         maximum additional amount available if
                                                                                                                                                                                                               incurred.




 Claim Representative

 ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND LIMITS OF
 YOUR POLICY.




1002989                                                                                                                                                                                                                                   139928.1 01-23-2013
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                                                      State Farm
FIALA,BILL                                                                                                 42-32K7-09Z

             Insured:    FIALA,BILL                                       Estimate:    42-32K7-09Z
            Property:    7707 INDIAN SPRJNGS DR                     Claim Number:      4232K709Z
                         NASHVILLE, TN 37221-1128                   Policy Number:     42B6P0230
            Cellular:    615-364-6251                                    Price List:   TNNA28 APR22
        Type of Loss:                                                                  Restoration/Service/Remodel
          Deductible:    $8,070.00
        Date of Loss:    3/31/2022
                              Summary for Coverage A - Dwelling - 35 Windstorm and Hail
        Line Item Total                                                                                    682.04
        Material Sales Tax                                                                                   7.37

        Replacement Cost Value                                                                             689.41
        Less Deductible                                                                                 (8,070.00)

        Replacement Cost Value Total                                                                    (7,380.59)
        Net Payment                                                                                         $0.00




        Kmsaul, Hunter
        866-787-8676 X 5766
    ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND
    LIMITS OF YOUR POLICY.




Date:     5/2/2022 1:25 PM                                                                                           Page:3
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                                                              State Farm
FIALA,BILL                                                                                                                 42-32K7-09Z
                                                           Source - Eagle View
                                                                 Interior


        ~ ' > n ' 011----t
                                    Kitchen                                                                                 Height: 8'

                             l
                             00
                                                       704.00 SF Walls
                                                     1,184.00 SF Walls & Ceiling
                                                        88.00 LF Ceil. Perimeter
                                                                                                     480.00 SF Ceiling
                                                                                                     480.00 SF Floor
                                                                                                      88.00 LF Floor Perimeter
        ---Kitc-hen---Wf




  DESCRIPTION                                          QUANTITY             UNIT PRICE                        TAX                RCV

  1. Drywall patch / small repair, ready for paint        3.00EA                    65.71                      0.90            198.03

  3. Seal/prime then paint the surface area (2           40.00 SF                    0.92                      0.70              37.50
  coats)

  4. Paint the ceiling - one coat                       480.00 SF                    0.64                      5.77            312.97

  Totals: Kitchen                                                                                              7.37            548.50
  Area Totals: Interior
                704.00 SF Walls                            480.00 SF Ceiling                        1,184.00 SF Walls and Ceiling
                480.00 SF Floor                            509.78 Total Area                           88.00 LF Floor Perimeter
                480.00 Floor Area                           90.67 Exterior Perimeter                   88.00 LF Ceil. Perimeter
                725.33 Exterior Wall Area                         of Walls                            704.00 Interior Wall Area

  Total: Interior                                                                                              7.37            548.50
  Area Totals: Source - Eagle View
                704.00 SF Walls                            480.00 SF Ceiling                        1,184.00 SF Walls and Ceiling
                480.00 SF Floor                            509.78 Total Area                           88.00 LF Floor Perimeter
                480.00 Floor Area                           90.67 Exterior Perimeter                   88.00 LF Ceil. Perimeter
              5,183.23 Exterior Wall Area                         of Walls                            704.00 Interior Wall Area
              4,406.04 Surface Area                         44.06 Number of Squares
                101.27 Total Ridge Length

  Total: Source - Eagle View                                                                                   7.37            548.50




  Labor Minimums Applied

  DESCRIPTION                                          QUANTITY             UNIT PRICE                        TAX                RCV

  2. Drywall labor minimum                                1.00EA                   140.91                      0.00            140.91

  Totals: Labor Minimums Applied                                                                               0.00            140.91


Date:   5/2/2022 1:25 PM                                                                                                            Page:4
           Case 3:24-cv-00050              Document 1-1          Filed 01/17/24             Page 33 of 140 PageID #: 37
                                                      State Farm
FIALA,BILL                                                                                                     42-32K7-09Z
  Line Item Totals: 42-32K7-09Z                                                                    7.37            689.41



  Grand Total Areas:
              704.00 SF Walls                    480.00 SF Ceiling                     1,184.00 SF Walls and Ceiling
              480.00 SF Floor                                                             88.00 LF Floor Perimeter
                                                                                          88.00 LF Ceil. Perimeter

               480.00 Floor Area                 509.78 Total Area                      704.00 Interior Wall Area
             5,183.23 Exterior Wall Area          90.67 Exterior Perimeter of
                                                        Walls

             4,406.04 Surface Area                44.06 Number of Squares
               101.27 Total Ridge Length




Date:   5/2/2022 1:25 PM                                                                                               Page: 5
          Case 3:24-cv-00050           Document 1-1     Filed 01/17/24          Page 34 of 140 PageID #: 38
                                                              Trade Summary
                                       Includes all applicable Tax, General Contractor O&P, and Labor Minimums


  DESCRIPTION                                         LINE ITEM REPL.COST                               ACV      NON-REC.    MAXADDL.
                                                            QTY    TOTAL                                          DEPREC.    AMT AVAIL.
  DRY       DRYWALL

    Drywall labor minimum                                   l.00EA              $140.91              $140.91         $0.00         $0.00
    Drywall patch / small repair, ready for                 3.00EA              $198.03              $198.03         $0.00         $0.00
    paint
   TOTAL DRYWALL                                                                $338.94              $338.94         $0.00         $0.00

  PNT       PAINTING

    Paint the ceiling - one coat                         480.00 SF              $312.97              $312.97         $0.00         $0.00
    Seal/prime then paint the surface area (2             40.00 SF               $37.50               $37.50         $0.00         $0.00
    coats)
   TOTAL PAINTING                                                               $350.47              $350.47         $0.00         $0.00

   TOTALS                                                                       $689.41              $689.41         $0.00         $0.00




Note: Slight variances may be found within report sections due to rounding
Date:   5/2/2022 1:25 PM                                                                                                            Page:6
           Case 3:24-cv-00050              Document 1-1              Filed 01/17/24             Page 35 of 140 PageID #: 39
Source - Eagle View - Interior




                                                                                                        '
                                                                     20' 8"
                                                                       20'




                                                                     Kitchen                        ~




                                                                                                            -


                                                                                                                      Interior
  Date:   5/2/2022 1:25 PM       Case 3:24-cv-00050   Document 1-1     Filed 01/17/24   Page 36 of 140 PageID #: 40      Page:7
Source - Eagle View - Source - Eagle View




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                                                                                                                        Source - Eagle View
 Date:   5/2/2022 1:25 PM          Case 3:24-cv-00050     Document 1-1   Filed 01/17/24   Page 37 of 140 PageID #: 41                 Page: 8
                                                                                                                                E-FILED
                                                                                                                    11/15/2023 12:28 PM
                                                                                                                     CLERK & MASTER
                                                                                                           DAVIDSON CO. CHANCERY CT.
 Providing Insurance and Financial Services
 Home Office, Bloomington, IL
                                                                                                     A State Farm®


 May 6, 2022


  Bill Fiala and Jacquelyn D Fiala                                         State Farm Claims
  7707 Indian Springs Dr                                                   PO Box 106169
  Nashville TN 37221-1128                                                  Atlanta GA 30348-6169




 RE:      Claim Number:                  42-32K7-09Z
          Date of Incident:              March 31, 2022
          Policy Number:                 42B6P0230
          Insured:                       Bill Fiala and Jacquelyn D Fiala

 Dear Bill Fiala and Jacquelyn D Fiala:

• Thank you for-the oppor;tunity to review your Homeowner claim. We have completed our-
 -evaluation of your claim and have determined your loss does not exceed your $8,070.00
  deductible. Therefore, we are unable to make a payment on this claim. Please see the enclosed
  estimate of damages for your personal records.

 If you have questions or need assistance, call us at (844) 458-4300 Ext. 9725416490.

 Sincerely,



 (for) April L Tolbert
 External Claim Resource - Alacrity
 (844) 458-4300 Ext. 9725416490
 Fax: (844) 236-3646
 statefarmfireclaims@statefarm.com
 For your protection, when emailing State Farm, please do not include sensitive personal information such as Social Security
 Number, credit/debit card number (financial account number), driver's license number, or health/medical information in an email.
 Please contact us at (844) 458-4800 Ext. 9725416490 to discuss sensitive information.


 State Farm Fire and Casualty Company




  Case 3:24-cv-00050                  Document 1-1               Filed 01/17/24             Page 38 of 140 PageID #: 42
Gmail - 42-32K7-09Z                                                                                                               11/15J2s, ~:f!~D
                                                                                                                      11/15/202312:28 PM
                                                                                                                       CLERK & MASTER
                                                                                                             DAVIDSON CO. CHANCERY CT.

 t-'i Gmail                                                                                     Jackie Fiala <jaddedfia!a@gmaiLcom>



 42-32K7-09Z


 Jackie Fiala <jackiedfiala@gmail.com>                                                                       Tue, Jun 21, 2022 at 11 :07 AM
 To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>

    Hello Ms. Tolbert,

    I have attached correspondence dated 6/21/22, an email from Mighty Dog Roofing summarizing the damage and
    discussing why the damage1 must be due to hail, a report with photographs of the hail damage completed by Mighty
    Dog Roofing, and an estimate of the costs to remedy the damage.

    Kindly,
    Jackie Fiala

    On Wed, Jun 1, 2022 at 11 :44 AM HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com> wrote:

      Kindest Regards,

      April Tolbert
      External Claim Resource - Alacrity
      State Farm Insurance Companies
      Ph: 844-458-4300 Ext 972-541-6490
      Fax: 844-236-3646
      statefarmfireclaims@statefarm.com


   - - Forwarded message - - -
   From: Michael Leach <mleach@mightydogroofing.com>
   To: "jackiedfiala@gmail.com" <jackiedfiala@gmail.com>
   Cc:
   Bee:
   Date: Mon, 6 Jun 2022 22:49:29 +0000
   Subject: Roof Price (RCV)
    Please see attached.


       1. RCV for total replacement of roof covering.
             a. This does not include Warranty
             b. Insurance typically will not cover a warranty cost.
       2. Report which shows clear images of (1 ") collateral on the skylights.
              a. These skylights are heavier gauge than typical flashings.
              b. This type of collateral is clear evidence hail impacted the residence.
              c. Being a heavier gauge metal; there is undoubtably damage to the roof covering.
        3. We did observe what appears to be hail damage and may provide a report with test
           squares if that will suffice in lieu of a contracted adjuster.
    Please let us know if you have any questions or concerns.


https:/fmail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search=a ... :r-3044432646985441576&dsqt=1&simpl=msg-a:r-3044432646985441576    Page 1 of 2
              Case 3:24-cv-00050             Document 1-1            Filed 01/17/24          Page 39 of 140 PageID #: 43
Gmail - 42-32K7-09Z                                                                                                               11/15/23, 12:24 PM



    Michael Leach


    https://linktr.ee/mightydogroofingnashville
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    _:,·; i?):; MLEACH@mightydogroofing.com




             MIGHTY DOG
             ROOFING
                                                           TM




     6 attachments
     ~       State Farm Roof 6_21_22.pdf
             44K

     ~       Fiala_Hail_Evidence.pdf
             2910K

     tg Fiala_RCV.pdf
             136K

         D Roof Price (RCV).eml
             4393K

     ~       Fiala_Hail_Evidence.pdf
             2910K

     ~       Fiala_RCV.pdf
             136K




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                   Case 3:24-cv-00050                      Document 1-1   Filed 01/17/24     Page 40 of 140 PageID #: 44
                                                             William and Jacquelyne D. Fiala
                                                             7707 Indian Springs Drive
                                                             Nashville, Tennessee 37221
                                                             Ph: (615) 364-6251
                                                                  (615) 426-9891
                                                             Em: jackiedfiala@gmail.com
                                                               williamfiala@gmail.com

June 21, 2022

VIA EMAIL
State Farm Claims
c/o April L. Tolbert
PO BOX 106169
Atlanta, GA 30348-6169
Em: statefarmfireclaims@statefarm.com
Fax: (844) 236-3646

Dear Ms. Tolbert:

As you are aware, my husband and I have filed a claim for hail damage to the roof of our home
(address above) that resulted in damage to the ceilings in the interior of our home. State Farm's
estimate for the interior repairs did not exceed our plan's deductible. State Farm (mistakenly)
concluded that there was no damage to the roof and therefore it would not cover our losses.

Following that notification, during a telephone conversation on June 1, 2022, I notified you of our
intent to appeal State Farm's finding that there was no hail/wind damage to the roof, and you
advised that I should submit a detailed estimate from my roofing contractor with a more
thorough description of the damage. I have enclosed the report and estimate from Mighty Dog
Roofing for your consideration. Also enclosed are photographs taken by Mighty Dog Roofing
the day after the loss occurred. As you will see, the report shows one-inch collateral near the
skylights, which is particularly notable because our home's skylights are heavier gauge than
what is typical for flashing. The collateral is clear evidence that the damage was caused by hail
impacts. My contractor is happy to provide a report with test squares to further evidence the
hail damage in lieu of a contracted adjuster, if amenable.

Please review the enclosures from Mighty Dog Roofing. I trust that this information will assist
State Farm as it further reviews the situation.

Kind regards,
Jackie Fiala




Case 3:24-cv-00050        Document 1-1        Filed 01/17/24     Page 41 of 140 PageID #: 45
Roof Price (RCV) - jackiedfiala@gmail.com                                                                                         9/15/23, 8:20 AM




                           1. RCV for total replacement of roof covering.
                                    a. This does not include Warranty
                                    b. Insurance typically will not cover a warranty cost.
                           2. Report which shows clear images of (1 ") collateral on the skylights.
                                     a. These skylights are heavier gauge than typical flashings.
                                     b. This type of collateral is clear evidence hail impacted the residence.
                                     c.   Being a heavier gauge metal; there is undoubtably damage to the roof cover
                            3. We did observe what appears to be hail damage and may provide a report with te:

                    Please let us know if you have any questions or concerns.


                    Michael Leach



                    httQs:LLlinktr.eeLmigh:t.Y-dogroofingnashville



                     -- •',: :: • MLEACH@mightY-dogroofing.com




                           MIGHTY DOG
                           ROOFING
                                                                    TM




                   2 Attachments • Scanned by Gmail




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               Case 3:24-cv-00050                  Document 1-1               Filed 01/17/24            Page 42 of 140 PageID #: 46
                                                                                                             Mighty Dog Roofing 116-W Nashville


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ROCFINl3
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                                                                                                   231 Public Square Suite 300, Franklin, TN 37064
                                                                                                                                   615-375-3560




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Photo Description: Large (1 ") collateral observed at metal components.




Jackie Fiala                                                              Job Location: 7707 Indian Springs Drive Nashville, TN 37221
               Case 3:24-cv-00050          Document 1-1          Filed 01/17/24        Page 43 of 140 PageID #: 47
Jackie Fiala                                            Job Location: 7707 Indian Springs Drive Nashville, TN 37221
               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24    Page 44 of 140 PageID #: 48
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Jackie Fiala                                                                        Job Location: 7707 Indian Springs Drive Nashville, TN 37221
               Case 3:24-cv-00050       Document 1-1                        Filed 01/17/24       Page 45 of 140 PageID #: 49
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Jackie Fiala                                                                                   Job Location: 7707 Indian Springs Drive Nashville, TN 37221
                             Case 3:24-cv-00050                           Document 1-1    Filed 01/17/24    Page 46 of 140 PageID #: 50
Jackie Fiala .                                        Job Location: 7707 Indian Springs Drive Nashville, TN 37221
             Case 3:24-cv-00050   Document 1-1   Filed 01/17/24    Page 47 of 140 PageID #: 51
Photo Description: Large spatter observed on skylight




Jackie Fiala                                                  Job Location: 7707 Indian Springs Drive Nashville, TN 37221
               Case 3:24-cv-00050         Document 1-1   Filed 01/17/24    Page 48 of 140 PageID #: 52
FIALA,BILL



                                               A State Farm®
                                                         State Farm
                                                       P.O. Box 106169
                                                   Atlanta, GA 30348-6169
                                                     Fax: 1-844-236-3646
                                             statefarmfireclaims@statefarm.com



                                         Structural Damage Claim Policy


    This estimate is priced based on estimated market pricing for the cost of materials, labor, and other factors at the time
    of the loss.

    Adjustments in market pricing and timing of the repairs may impact the final cost of covered repairs. Should you or
    the contractor you select have questions concerning our estimate, please contact us. If your contractor's estimate is
    higher than ours, you should contact us prior to beginning repairs. State Farm will work with you and your contractor
    to determine the actual and necessary cost of covered repairs at the time repairs will be completed, subject to policy
    terms, conditions and limits.

        • We want you to receive quality repair work to restore the damages to your property.

        • We will provide you with a detailed estimate of the scope of the damage and costs of repairs. Should the
          contractor you select have questions concerning our estimate, they should contact your claim representative
          directly.

        • Depending upon the complexity of your repair, our estimate may or may not include an allowance for general
          contractor's overhead and profit. If you have questions regarding general contractor's overhead and profit and
          whether general contractor services are appropriate for your loss, please contact your claim representative
          before proceeding with repairs.

        • There may be building codes, ordinances, laws, or regulations that affect the repairs of your property. These
          items may or may not be covered by your policy. Please contact your claim representative if you have any
          questions regarding coverage which may be available under your policy.

        • State Farm® cannot authorize any contractor to proceed with work on your property. Repairs should proceed
          only with your authorization.

        • State Farm does not guarantee the quality of the workmanship of any contractor or guarantee that the work will
          be accomplished within any specific time frame.

        • It is understood that the contractor is hired by you, our insured, and that they work for you - not State Farm.

    If you have any questions or need additional information regarding your claim, please contact your claim
    representative immediately.




Date:    9/17/2022 11:49 AM                                                                        132214.1 06-18-2009      Page: 1
            Case 3:24-cv-00050            Document 1-1         Filed 01/17/24        Page 49 of 140 PageID #: 53
                                                                                                                                                                                                                       42-32K7-09Z


A State Farm®                                                            Building Estimate Summary Guide
                         This summary guide is based on a sample estimate and is provided for reference only.
                                                              Please refer to the estimate for specifics of your claim.

                                                          State Farm Insurance                                                                                                     1. Line Item Total - Total value of all line
                                                                                                                                                                                      items in the estimate plus possible
                 Insured: Smith, Joe & Jane                                                                                    Estimate:            00-0000-000                       adjustments for labor minimums. Labor
                                                                                                                                                                                      Minimum is to cover a certain minimum
               Property:        1 Main Street                                                                     Claim number:                     00-0000-000                       number of hours for drive-time, set up
                                Anywhere, IL 00000-0000                                                        Policy Number:                       00-00-0000-0                      time and applicable administrative
                                                                                                                                                                                      costs and repairs.
      Type of Loss:             Other                                                                                          Price List:        ILBL8F_MAR 13
             Deductible: $1,000.00                                                                                                                Restoration/Service/             2. General Contractor's Overhead and
                                                                                                                                                  Remodel                             Profit - General contractor's charge for
                                                                                                                                                  F = Factored In,                    coordinating your repairs.
                                                                                                                                                  D = Do Not Apply
                                                                                                                                                                                   3. Replacement Cost Value (RCV) -
                                                          Summary for Dwelling                                                                                                        Estimated cost to repair or replace
                                                                                                                                                                                      damaged property.
 Line Item Total               OJ                                                                                                                                '·~,p53.1?
                                                                                                                                                                                   4. Depreciation - The decrease in the
 Material Sales Tax                                                                    @                 10.000% X 1,520.00                                     ;'- --\.,,~   l\
                                                                                                                                 ..-, I,
                                                                                                                                                                                      value of property over a period of time
 Subtotal                                                                                                                                                         6,105. io           due to wear, tear, condition, and
                                                                                                                                                                                      obsolescence. A portion or all of this
 General Contractor Overhead (I]                                                       @               _.. --·10:0% x· 6, 105_.10                                   .:~i~.51
                                                                                                   _.·· .- --..            '         \        \                                       amount may be eligible for replacement
 General Contractor Profit                                                             @         .,· ·,        10.0% x 6, 1.05.10                                                     cost benefits.
 Replacement Cost Value (Including Gener.at c;ntra~tor 61,(~thead and.Pro;tt~'.r •                                                                               7,326.12          5. Deductible - The insurer will pay for
 Less Depreciation (Including Taxes) [il                                          •         ·\       \            \\                        J··                    (832.50)           losses, up to the policy limits, in excess
                                                                                   '         '            '-           r
                                                                                                                                                                                      of your applicable deductible.
 Less General Contractor O~f!!he~d ~_f'rofif,,oii R~c~veratJI~ _&>-
 Non - recoverable Depreciation\_.· ,                                        • '. ··\                                                                              (166.50)        6. Net Actual Cash Value Payment
                                                                                       I                                                                                              (ACV) - The repair or replacement cost
 Less Deductible @J'-.                                    \\                      - .. !i                                                                                             of the damaged part of the property
                                r          •-.                ",1
                                                                                        J
 Net Act1,1al Cash V?ILJe Pay0ent @l\.                                                                                                                                                less depreciation and deductible.
      ..::,;:,-· --~:               ~Ii ·•,·•-..   ·•., •.,         .,:~:_-:,-~
                                                                                                                                                                                   7. Non Recoverable Depreciation -
  .. .,.._              ··Maximurn"Additional Amounts Available If Incurred:
                               (     •                                                                                                                                                Depreciation applied to items that are
  '                        '         11,                                                                                                                                              not eligible for replacement cost
Total-Line Item 'qep{i,ciation (Including Taxes) [il                                                                                     832.50                                       benefits.
Less,N'2_n - re9_9~erable Depreciation (Including Taxes) [ZJ
                                                                                                                                                                                   8. Total Maximum Additional Amount if
Subtota(";_:;.·                                                                                                                                        312.50                         Incurred - Total amount of
 General Contractor O&P on Depreciation                                                                                                    166.50                                     recoverable depreciation after actual
                                                                                                                                                                                      repair or replacement of the property.
 Less General Contractor O&P on Non - recoverable Depreciation
                                                                                                                                ----
 Subtotal                                                                                                                                                                          9. Total Amount of Claim if Incurred -
                                                                                                                                                                                      Total amount of the claim, including net
 Total Maximum Additional Amounts Available If Incurred @]                                                                                                                            actual cash value payment and total
 Total Amount of Claim If Incurred [QJ                                                                                                                                                maximum additional amount available if
                                                                                                                                                                                      incurred.




 Claim Representative

ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND LIMITS OF
YOUR POLICY.




1002989                                                                                                                                                                                                          139928.1 01-23-2013
Date:             9/17/2022 11 :49 AM                                                                                                                                                                                     Page:2
                    Case 3:24-cv-00050                                                  Document 1-1                                        Filed 01/17/24                    Page 50 of 140 PageID #: 54
                                                       State Farm
FIALA,BILL                                                                                                   42-32K7-09Z
            Insured:     FIALA,BILL                                        Estimate:    42-32K7-09Z
           Property:     7707 INDIAN SPRINGS DR                      Claim Number:      4232K709Z
                         NASHVILLE, TN 37221-1128                    Policy Number:     42B6P0230
           Cellular:     615-364-6251                                     Price List:   TNNA28 APR22
     Type of Loss:       Wind Damage                                                    Restoration/Service/Remodel
       Deductible:       $8,070.00
     Date of Loss:       3/31/2022
    Date Inspected:      4/24/2022
                               Summary for Coverage A - Dwelling - 35 Windstorm and Hail
        Line Item Total                                                                                   6,965.19
        Material Sales Tax                                                                                  348.12
        Replacement Cost Value                                                                            7,313.31
        Less Deductible                                                                                  (8,070.00)
        Replacement Cost Value Total                                                                       (756.69)
        Net Payment                                                                                          $0.00




        Tolbert, April
        844-458-4300 X 9725416490
        Kinsaul, Hunter


    ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND
    LIMITS OF YOUR POLICY.




Date:    9/17/2022 11 :49 AM                                                                                          Page: 3
            Case 3:24-cv-00050          Document 1-1     Filed 01/17/24   Page 51 of 140 PageID #: 55
                                                      State Farm
FIALA,BILL                                                                                                 42-32K7-09Z
             Insured:     FIALA,BILL                                      Estimate:    42-32K7-09Z
            Property:     7707 INDIAN SPRINGS DR                    Claim Number:      4232K709Z
                          NASHVILLE, TN 37221-1128                  Policy Number:     42B6P0230
           Cellular:      615-364-6251                                   Price List:   TNNA28 APR22
     Type of Loss:        Wind Damage                                                  Restoration/Service/Remodel
       Deductible:        $0.00
     Date of Loss:        3/31/2022
    Date Inspected:       4/24/2022
                          Summary for Coverage A - Dwelling - 35 Windstorm and Hail - BC -
                                                  Code Upgrade
        Line Item Total                                                                                      0.00,

        Replacement Cost Value                                                                               0.00
        Less Deductible                                                                                     (0.00)

        Net Payment                                                                                         $0.00




        Tolbert, April
        844-458-4300 X 9725416490
        Kinsaul, Hunter

    ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND
    LIMITS OF YOUR POLICY.




Date:     9/17/2022 11 :49 AM                                                                                        Page:4
             Case 3:24-cv-00050        Document 1-1     Filed 01/17/24   Page 52 of 140 PageID #: 56
                                                               State Farm
FIALA,BILL                                                                                                                  42-32K7-09Z

                                                            Source - Eagle View
                                                            Source - Eagle View

                    6' 6-'~7'5"'

    T                              .   Roof
   "'                                                 4,406.04 Surface Area                              44.06 Number of Squares
                                                                                                        101.27 Total Ridge Length



             ~1Q•,;11---I


  DESCRIPTION                                           QUANTITY           UNIT PRICE                               TAX             RCV

  1. Tear off, haul and dispose of comp. shingles -         7.04 SQ                 57.96                            0.00       408.04
  3 tab

  2. 3 tab - 25 yr. - composition shingle roofing -         8.33 SQ                250.37                           82.28     2,167.86
  incl. felt

  3. Continuous ridge vent - shingle-over style           43.00LF                     8.74                          13.36       389.18

  4. Ridge cap - composition shingles                     43.00LF                     4.30                           4.77       189.67

  5. Drip edge                                            80.00LF                                                             PWARR

  This item did not previously exist or expands the scope ofrepairs, but is required by current building codes.

  The following code upgrade item is paid when actually repaired or replaced. 80LF of Drip Edge@ $2.72 per LF = $225.74.

  6. Roll roofing                                           0.27 SQ                                                           PWARR

  This item did not previously exist or expands the scope of repairs, but is required by current building codes.

  The following code upgrade item is paid when actually repaired or replaced.. 27 sq of Roll roofing@ $1.54 per LF = $104.67.

  7. Asphalt starter - universal starter course           80.00LF                     1.89                           3.63       154.83

  8. Flashing - pipe jack                                   l.OOEA                  44.39                            1.12           45.51

  9. Roof window (skylight), 9.1 - 10 sf                    3.00EA                 928.61                          227.60     3,013.43

  Totals: Roof                                                                                                     332.76     6,368.52
  Area Totals: Source - Eagle View
               4,457.90 Exterior Wall Area
               4,406.04 Surface Area                          44.06 Number of Squares
                 101.27 Total Ridge Length

  Total: Source - Eagle View                                                                                       332.76     6,368.52




Date:   9/17/2022 11 :49 AM                                                                                                          Page:5
           Case 3:24-cv-00050                 Document 1-1        Filed 01/17/24            Page 53 of 140 PageID #: 57
                                                                State Farm
FIALA,BILL                                                                                                                  42-32K7-09Z
                                                                   Interior



        ~;;-~]                       Kitchen                                                                                 Height: 8'

                                                       704.00 SF Walls                                480.00 SF Ceiling
                                                     1,184.00 SF Walls & Ceiling                      480.00 SF Floor

        --Ki-·tc-he-n_ _
                       '   r                            88.00 LF Ceil. Perimeter                       88.00 LF Floor Perimeter




 DESCRIPTION                                            QUANTITY              UNIT PRICE                       TAX                RCV

 10. Drywall patch/ small repair, ready for                 3.00EA                   65.71                      0.90            198.03
 paint

  11. SeaVprime then paint the surface area (2            40.00 SF                    0.92                      0.70              37.50
  coats)

  12. Paint the ceiling - one coat                       480.00 SF                    0.64                      5.77            312.97

  ***BEGIN REVISIONS BY APRIL TRIW 9/17/2022****

  18. Detach & Reset Recessed light fixture -               2.00EA                    3.53                      0.00                 7.06
  trim only

  20. Mask per square foot for drywall work              480.00 SF                    0.22                      2.66            108.26

  21. Additional cost for high wall or ceiling -            l.00SF                    0.05                      0.00                 0.05
  ll'to14'

  For cleaning the ceiling before the small drywall repair and the painting of ceiling.

  23. Additional cost for high wall or ceiling -          40.00 SF                    0.59                      0.00              23.60
  11' to 14' high

  24. Contents - move out then reset - Large                l.00EA                  100.45                      0.00            100.45
  room

  26. Floor protection - plastic and tape - 10 mil       480.00 SF                        0.30                  5.33            149.33

  ***END REVISIONS BY APRIL TRIW 9/17/2022****

  Totals: Kitchen                                                                                              15.36            937.25

  Area Totals: Interior
                704.00 SF Walls                              480.00 SF Ceiling                       1,184.00 SF Walls and Ceiling
                480.00 SF Floor                              509.78 Total Area                          88.00 LF Floor Perimeter
                480.00 Floor Area                             90.67 Exterior Perimeter                  88.00 LF Ceil. Perimeter
                725.33 Exterior Wall Area:                          of Walls                           704.00 Interior Wall Area

  Total: Interior                                                                                              15.36            937.25

  Area Totals: Source - Eagle View


Date:   9/17/2022 11:49 AM                                                                                                           Page: 6
           Case 3:24-cv-00050              Document 1-1            Filed 01/17/24            Page 54 of 140 PageID #: 58
                                                         State Farm
FIALA,BILL                                                                                                         42-32K7-09Z
                 704.00 SF Walls                      480.00 SF Ceiling                     1,184.00 SF Walls and Ceiling
                 480.00 SF Floor                      509.78 Total Area                        88.00 LF Floor Perimeter
                 480.00 Floor Area                     90.67 Exterior Perimeter                88.00 LF Ceil. Perimeter
               5,183.23 Exterior Wall Area                   of Walls                         704.00 Interior Wall Area
               4,406.04 Surface Area                   44.06 Number of Squares
                 101.27 Total Ridge Length

  Total: Source - Eagle View                                                                         348.12             7,305.77




  Debris Removal
                    0.00 SF Walls                        0.00 SF Ceiling                       0.00 SF Walls & Ceiling
                    0.00 SF Floor                        0.00 SF Short Wall                    0.00 LF Floor Perimeter
                    0.00 SF Long Wall                                                          0.00 LF Ceil. Perimeter

  DESCRIPTION                                     QUANTITY            UNIT PRICE                       TAX                 RCV

  13. Haul debris - per pickup truck load -          0.05EA                150.74                      0.00                 7.54
  including dump fees

  Totals: Debris Removal                                                                               0.00                 7.54


  Line Item Totals: 42-32K7-09Z                                                                      348.12             7,313.31



  COVERAGE                                                                                             TAX                 RCV
  Coverage A - Dwelling - 35 Windstorm and Hail                                                      348.12             7,313.31
  Coverage A - Dwelling - 35 Windstorm and Hail - BC - Code Upgrade                                    0.00                 0.00
  Total                                                                                              348.12             7,313.31



  Grand Total Areas:
                704.00 SF Walls                      480.00 SF Ceiling                     1,184.00 SF Walls and Ceiling
                480.00 SF Floor                                                               88.00 LF Floor Perimeter
                                                                                              88.00 LF Ceil. Perimeter

                 480.00 Floor Area                   509.78 Total Area                      704.00 Interior Wall Area
               5,183.23 Exterior Wall Area            90.67 Exterior Perimeter of
                                                            Walls

               4,406.04 Surface Area                   44.06 Number of Squares
                 101.27 Total Ridge Length




Date:     9/17/2022 11 :49 AM                                                                                               Page: 7
            Case 3:24-cv-00050            Document 1-1      Filed 01/17/24          Page 55 of 140 PageID #: 59
                                                               Trade Summary
                                        Includes all applicable Tax, General Contractor O&P, and Labor Minimums


  DESCRIPTION                                          LINE ITEM REPL.COST                               ACV      NON-REC.    MAXADDL.
                                                             QTY    TOTAL                                          DEPREC.    AMT AVAIL.
  CLN       CLEANING

    Additional cost for high wall or ceiling -               l.00SF                 $0.05                $0.05        $0.00         $0.00
    11' to 14'
   TOTAL CLEANING                                                                 . $0.05                $0.05        $0.00         $0.00

  CON       CONTENT MANIPULATION

    Contents - move out then reset - Large                   l.00EA              $100.45              $100.45         $0.00         $0.00
    room
   TOTAL CONTENT MANIPULATION                                                    $100.45              $100.45         $0.00         $0.00

  DMO       GENERAL DEMOLITION

    Haul debris - per pickup truck load -                   0.05EA                  $7.54               $7.54         $0.00         $0.00
    including dump fees
   TOTAL GENERAL DEMOLITION                                                         $7.54               $7.54         $0.00         $0.00

  DRY       DRYWALL
    Additional cost for high wall or ceiling -             40.00 SF               $23.60               $23.60         $0.00         $0.00
    11' to 14' high
    Mask per square foot for drywall work                480.00 SF               $108.26              $108.26         $0.00         $0.00
    Drywall patch / small repair, ready for                 3.00EA               $198.03              $198.03         $0.00         $0.00
    paint
   TOTAL DRYWALL                                                                 $329.89              $329.89         $0.00         $0.00

  LIT       LIGHT FIXTURES

    Detach & Reset Recessed light fixture -                 2.00EA                 $7.06                $7.06         $0.00         $0.00
    trim only
   TOTAL LIGHT FIXTURES                                                            $7.06                $7.06         $0.00         $0.00

  PNT       PAINTING

    Floor protection - plastic and tape - 10 mil         480.00 SF               $149.33              $149.33         $0.00         $0.00
    Paint the ceiling - one coat                         480.00 SF               $312.97              $312.97         $0.00         $0.00
    Seal/prime then paint the surface area (2              40.00 SF               $37.50               $37.50         $0.00         $0.00
    coats)
   TOTAL PAINTING                                                                $499.80              $499.80         $0.00         $0.00

  RFG       ROOFING

    3 tab - 25 yr. - composition shingle roofing             8.33 SQ          $2,167.86            $2,167.86          $0.00         $0.00
    - incl. felt
    Tear off, haul and dispose of comp.                     7.04 SQ              $408.04              $408.04         $0.00         $0.00
    shingles - 3 tab
    Asphalt starter - universal starter course             80.00LF               $154.83              $154.83         $0.00         $0.00
    Drip edge                                              80.00LF                  $0.00               $0.00         $0.00         $0.00
    Flashing - pipe jack                                     l.00EA               $45.51               $45.51         $0.00         $0.00


Note: Slight variances may be found within report sections due to rounding
Date:   9/17/202211:49 AM                                                                                                            Page:8
           Case 3:24-cv-00050               Document 1-1               Filed 01/17/24            Page 56 of 140 PageID #: 60
                                                              Trade Summary
                                       Includes all applicable Tax, General Contractor O&P, and Labor Minimums


  DESCRIPTION                                         LINE ITEM REPL.COST                               ACV      NON-REC.    MAXADDL.
                                                            QTY    TOTAL                                          DEPREC.    AMT AVAIL.
  RFG       ROOFING
    Ridge cap - composition shingles                      43.00LF               $189.67              $189.67         $0.00         $0.00
    Roll roofing                                            0.27 SQ                $0.00                $0.00        $0.00         $0.00
    Continuous ridge vent - shingle-over style            43.00LF               $389.18             $389.18          $0.00         $0.00
   TOTAL ROOFING                                                              $3,355.09           $3,355.09          $0.00         $0.00

  WDS       WINDOWS - SKYLIGHTS
    Roof window (skylight), 9.1 - 10 sf                     3.00EA            $3,013.43           $3,013.43          $0.00         $0.00
   TOTAL WINDOWS - SKYLIGHTS                                                  $3,013.43           $3,013.43          $0.00         $0.00

   TOTALS                                                                     $7,313.31           $7,313.31          $0.00         $0.00




Note: Slight variances may be found within report sections due to rounding
Date:   9/17/2022 11:49 AM                                                                                                          Page:9
           Case 3:24-cv-00050              Document 1-1               Filed 01/17/24            Page 57 of 140 PageID #: 61
Source - Eagle View - Interior




                                                                       20'




                                                                     Kitchen




                                                                                                                      Interior
  Date:   9/17/2022 11 :49 AM    Case 3:24-cv-00050   Document 1-1     Filed 01/17/24   Page 58 of 140 PageID #: 62     Page: 10
Source - Eagle View - Source - Eagle View




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Gmail - RE: 42-32K7-09Z                                                                                                                                     11[15[23, 11:30 AM
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             Gmail

 RE: 42-32K7-09Z
 Supplements <supplements@mightydogroofing.com>                                       Tue, Sep 20, 2022 at 1:31 PM
 To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
 Cc: "jackiedfiala@gmail.com" <jackiedfiala@gmail.com>, Michael Leach <mleach@mightydogroofing.com>


    Claim Number 42-32K7-09Z

    Homeowner Jackie Fiala




    Good afternoon,



    Thank you for providing a copy of your updated estimate, it is appreciated. It is our understanding that State Farm is
    covering 7.04 SQ of shingles to be repaired. Please advise which shingles on the home are being covered for this
    repair. If you have any questions, please do not hesitate to contact us.



    Thank you,



    Adelaide 0.

    Mighty Dog Roofing




    From: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
    Sent: Tuesday, September 20, 2022 9:01 AM
    To: Supplements <supplements@mightydogroofing.com>
    Cc: DF - FIRE - Drop File Document <DF-FIRE-CL@internal.statefarm.com>
    Subject: [External] 42-32K7-09Z



    Please see our insureds attached State Farm Estimate




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                Case 3:24-cv-00050                    Document 1-1                Filed 01/17/24               Page 60 of 140 PageID #: 64
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        i Gmail
 RE: 42-32K7-09Z
 Supplements <supplements@mightydogroofing.com>                                       Tue, Sep 27, 2022 at 8:31 AM
 To: Supplements <supplements@mightydogroofing.com>, HOME CLMS-FIRECLAIMS
 <statefarmfireclaims@statefarm.com>
 Cc: "jackiedfiala@gmail.com" <jackiedfiala@gmail.com>, Michael Leach <mleach@mightydogroofing.com>


    Good morning,



    Just following up to ensure that you have received our email below. Please advise when you have an opportunity
    which shingles on the home the 7.04 sq repair covers.



    Thank you,

    Jacob H.




    From: Supplements <supplements@mightydogroofing.com>
    Sent: Tuesday, September 20, 2022 1:32 PM
    To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
    Cc: jackiedfiala@gmail.com; Michael Leach <mleach@mightydogroofing.com>
    Subject: RE: 42-32K7-09Z



    Claim Number 42-32K7-09Z

    Homeowner Jackie Fiala




    Good afternoon,



    Thank you for providing a copy of your updated estimate, it is appreciated. It is our understanding that State Farm is
    covering 7.04 SQ of shingles to be repaired. Please advise which shingles on the home are being covered for this
    repair. If you have any questions, please do not hesitate to contact us.



    Thank you,



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                Case 3:24-cv-00050                  Document 1-1               Filed 01/17/24             Page 61 of 140 PageID #: 65
Gmail - RE: 42-32K7-09Z                                                                                                                                 11/15/23, 11:32 AM



    Adelaide 0.

    Mighty Dog Roofing




    From: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
    Sent: Tuesday, September 20, 2022 9:01 AM
    To: Supplements <supplements@mightydogroofing.com>
    Cc: OF - FIRE - Drop File Document <DF-FIRE-CL@internal.statefarm.com>
    Subject: [External] 42-32K7-09Z



    Please ·see our insureds attached State Farm Estimate




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                Case 3:24-cv-00050                   Document 1-1                Filed 01/17/24             Page 62 of 140 PageID #: 66
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                                                                                                              DAVIDSON CO. CHANCERY CT.

                                                                                                 Jackie Fiala <jackiedfia!a@gmaiLcom>



 RE: 42-32K7-09Z
 Jackie Fiala <jackiedfiala@gmail.com>                                           Tue, Sep 27, 2022 at 9:52 AM
 To: Supplements <supplements@mightydogroofing.com>
 Cc: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>, Michael Leach <mleach@mightydogroofing.com>

    Good Morning,

    Thank you for your work on our daim and your emails. I have been unable to see any written estimate for the work to
    the roof. I have only received the estimated cost in a voicemail. Have you received one.? If so, could you please
    forward to me for my records.

    I appreciate that insurance is willing to repair 7.04 square feet of our roof; however, it is my understanding that it is a
    violation of Davidson County Building Codes to repair a double layer shingle roof. Indeed complete replacement, and
    not repairs, are the only compliant fix for a roof that has a double layer of shingles, as ours does. As you may already
    be aware, Section 16.08.01 O of the Metropolitan Nashville Building Code adopts by reference the 2018 edition of the
    International Building Code. Section 16.08.010 is attached for reference. Section 15.11.3.1.1 of the 2018 edition of
    the International Building Code sets forth exceptions where a roof repair is impermissible. Subsection 15.11.3.1.1 (3)
    specially prohibits repairs to roofs "[w]here the existing roof has two or more applications of any type of roof covering."
     The 2018 edition of the International Building Code can be accessed by this link, https://codes.iccsafe.
    org/contenUIBC2018P6/chapter-15-roof-assemblies-and-rooftop-structures#IBC2018P6_Ch15_Sec1511.3.1.

    Seeing that my roof has two applications of roof covering - it is a double-layer shingle roof - it falls under the exception
    set forth in Section 15.11.3.1.1 (3) and a repair would be in violation of the Building Code. Please let me know the next
    steps to take with the insurance company. We are prepared to file a declaratory judgment action in state court, if
    necessary.

    Kind regards,
    Jackie Fiala
    615-364-6251

    On Tue, Sep 27, 2022 at 8:31 AM Supplements <supplements@mightydogroofing.com> wrote:

      Good morning,



      Just following up to ensure that you have received our email below. Please advise when you have an opportunity
      which shingles on the home the 7.04 sq repair covers.



      Thank you,

      Jacob H.




      From: Supplements <supplements@mightydogroofing.com>
      Sent: Tuesday, September 20, 2022 1:32 PM


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              Case 3:24-cv-00050              Document 1-1           Filed 01/17/24          Page 63 of 140 PageID #: 67
Gmail - RE: 42-32K7-09Z                                                                                                                                   9/15/23, 9:26 AM



       To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
       Cc: jackiedfiala@gmail.com; Michael Leach <mleach@mightydogroofing.com>
       Subject: RE: 42-32K7-09Z



       Claim Number 42-32K7-09Z

       Homeowner Jackie Fiala




       Good afternoon,



       Thank you for providing a copy of your updated estimate, it is appreciated. It is our understanding that State Farm is
       covering 7.04 SQ of shingles to be repaired. Please advise which shingles on the home are being covered for this
       repair. If you have any questions, please do not hesitate to contact us.



       Thank you,



       Adelaide 0.

       Mighty Dog Roofing




       From: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
       Sent: Tuesday, September 20, 2022 9:01 AM
       To: Supplements <supplements@mightydogroofing.com>
       Cc: OF - FIRE - Drop File Document <DF-FIRE-CL@internal.statefarm.com>
       Subject: [External] 42-32K7-09Z



       Please see our insureds attached State Farm Estimate



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                Case 3:24-cv-00050                   Document 1-1                Filed 01/17/24              Page 64 of 140 PageID #: 68
Metro Government of Nashville and Davidson County, TN Code of Ordinances                                              9/27/22, 9:42 AM



16.08.010 - Adoption by reference.

      The following sections and appendices are adopted and incorporated into this chapter as the
  technical section of the building code of the metropolitan government, by reference, as fully as though
  copied into this code, except as have been or may be hereafter amended herein:

              A. 2018 Edition of the International Building Code, including Appendices C & D of the
                 International Building Code, as published by the International Code Council.

              B. 2017 Edition of the International ICC/ANSI A117.1 Accessible and Usable Buildings and
                 Facilities.

              C. 2018 International Residential Code for One- and Two-Family Dwellings published by the
                 International Code Council, as amended in this chapter, and Appendices E, F, G, H, and M of
                 the International Residential Code for One- and Two-Family Dwellings.

              D. 2018 Edition of the International Energy Conservation Code published by the International
                 Code Council, as amended in this chapter.

  (Arndt. 1 to Ord. BL2020-458 § 1, 2020; Ord. BL2020-458 § 1, 2020; Ord. BL2015-1145 § 6, 2015; Ord.
  BL2007-1390 §§ 6, 8, 2007; Ord. BL2007-1373 § 1, 2007; Ord. BL2005-796 § 3, 2005; Ord. BL2002-1142 §§
  12, 13, 2002; Ord. BL2001-703 § 1, 2001; Ord. 98-1445 §§ 22, 23, 1998; Ord. 96-562 §§ 1, 2, 1996; Ord. 95-
  1487 §§ 1, 2, 3, 1995; Ord. 93-843 § 1, 1994; Ord. 92-118 §§ 1, 2, 1992; Ord. 89-1003 § 1, 1989; prior code
  § 11-1-29)




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               Case 3:24-cv-00050              Document 1-1                Filed 01/17/24   Page 65 of 140 PageID #: 69
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 ~j Gmail                                                                                        Jac~~ie Fiala <jac~tiedfiala@gmaiLcorn>



 42-32K7-09Z
 Jackie Fiala <jackiedfiala@gmail.com>                                            Fri, Sep 30, 2022 at 11:27 AM
 To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
 Cc: Michael Leach <mleach@mightydogroofing.com>, Supplements <supplements@mightydogroofing.com>

    Good Morning Ms. Tolbert,

    I am writing to one again follow up on our insurance claim for the damage to the interior and the roof. I would like to
    know the status of my claim. Given the convoluted history of this claim, here is a brief history to refresh your
    recollection.

   I filed the claim under my homeowner's policy on April 6, 2022 when water began leaking through our roof. Two
   adjusters came to our home in the spring of 2022, one to estimate the interior damage and another to estimate the
   damage to the roof. State Farm estimated the interior damage alone to cost $7,380.59. The roof adjuster came to the
   house on April 24, 2022 and wrongfully determined that there was no damage to the roof. I received correspondence
   from State Farm dated May 6, 2022 stating that the damage did not exceed our deductible. You and I spoke on the
   phone on or around June 1, 2022 regarding the May 6 correspondence. I informed you that my roofing contractor,
   Mighty Dog Roofing, had photographs evidencing the storm damage to the roof. On June 21, 2022, I emailed you_ the
   photographs, and an estimate of the costs to remedy the roof damage. Upon receiving the documentation from
   Mighty Dog Roofing, State Farm sent a second roof adjustor, Vic, to our property on or around July 27, 2022. After
   viewing the roof, Vic from State Farm left me a voicemail dated July 27, 2022 stating that he completed the estimate
   and the roof damage would cost $6,924.06 to remedy; Vic further (incorrectly) stated in the voicemail that the loss
   was still below our deductible.

   I returned Vic's call the same day, and left a voicemail informing him that the loss exceeded the deductible given the
   interior and exterior damage. Indeed, the policy documents provide that "deductibles are applied per occurrence."
    The policy defines "occurance" to mean "an accident ... , which results in ... (b) property damage." The policy
   further explains that "[a]II bodily injury or property damages resulting from one accident, series of related accidents, or
   from continuous or repeated exposure to the same general conditions is considered to be one occurrence. "
    (Emphasis added). Neither Vic nor anyone else from State Farm returned my call. I did not receive a written
   estimate for the roof damage. I have a copy of the voicemail from Vic I am happy to share with you.

    On or around August 30, 2022, I called State Farm asking to speak to you about the same issue, but you were
    unavailable. I updated the State Farm agent that assisted me informing him that our deductible is $8,070.00 and,
    according to State Farm's estimates, the losses would cost a total of $14,304.65 - $6,234.65 above our deductible.
    Though the agent with whom I spoke assured me that you would return my call within 24 hours, you did not. Mighty
    Dog's Supplements team sent you additional photographs and information regarding the damage in September 2022.

   On September 17, 2022, State Farm uploaded a revised estimate. The September 17 estimate provides that State
   Farm would replace 7 .04 square feet of roofing at an estimated all-inclusive cost of $6,368.52. The written estimate
   for the exterior damage costs is $555.54 lower than the figure Vic provided in his July 27 voicemail. The September 17
   estimate states the cost to remedy the interior damage is $7313.31, which is curiously $67.28 below the estimate for
   the same interior damage provided by State Farm in Spring 2022. Pursuant to the policy documents and the definition
   of "occurrence", the interior and exterior damage costs, which all resulted from the same storm event, should be
   added together. The September 17 estimate fails to do so. Indeed, pursuant to the September 17 estimate, the total
   cost to remedy the damage is $13,681.83, which is $5,611.83 above our deductible. However, if the loss is computed
   using the first set of estimates ($7380.59 for the interior damage from the Spring 2022 estimate and $6,924.06 from
   Vic's July 27 voicemail for the roof damage), the total loss for this occurrence is $14,304.65 - $6,234.65 above our
   deductible.


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              Case 3:24-cv-00050              Document 1-1           Filed 01/17/24          Page 66 of 140 PageID #: 70
 Gmail - 42-32K7-09Z                                                                                                                     9/15/23, 9:31 AM



     Still, one further issue we must take into consideration concerns State Farm's proposed roof repair and the applicable
     building codes. Davidson County Building Codes does not permit repairs to double-layer shingle roofs. Indeed
     complete replacement, and not repairs, are the only compliant fix for a roof that has a double layer of shingles, as ours
     does. As you may already be aware, Section 16.08.010 of the Metropolitan Nashville Building Code adopts by
     reference the 2018 edition of the International Building Code. Section 16.08.010 is attached for reference. Section
     15.11.3.1.1 of the 2018 edition of the International Building Code sets forth exceptions where a roof repair is
     impermissible. Subsection 15.11.3.1.1 (3) specially prohibits repairs to roofs "[w]here the existing roof has two or more
     applications of any type of roof covering." The 2018 edition of the International Building Code can be accessed by this
     link, https://codes.iccsafe.org/content/lBC2018P6/chapter-15-roof-assemblies-and-rooftop-structures#IBC2018P6_
     Ch15 Sec1511.3.1.

     Seeing that my roof has two applications of roof covering - it is a double-layer shingle roof - it falls under the exception
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                                        \                                                                     '.
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     customers with numerous policies for more than 30 years with almost no claims. Now, we need the help and
     insurance we have been purchasing for decades and feel abandoned, unimportant, and that we are being given the
     runaround. I am happy to schedule a telephone call to further discuss any of the issues set forth herein.

     Kind regards,
     Jackie Fiala
     615-364-6251




     On Tue, Jun 21, 2022 at 11 :07 AM Jackie Fiala <jackiedfiala@gmail.com> wrote:
       Hello Ms. Tolbert,

       I have attached correspondence dated 6/21/22, an email from Mighty Dog Roofing summarizing the damage and
       discussing why the damage must be due to hail, a report with photographs of the hail damage completed by Mighty
       Dog Roofing, and an estimate of the costs to remedy the damage.

       Kindly,
       Jackie Fiala

       On Wed, Jun 1, 2022 at 11 :44 AM HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com> wrote:

          Kindest Regards,

          April Tolbert
          External Claim Resource - Alacrity
          State Farm Insurance Companies
          Ph: 844-458-4300 Ext 972-541-6490
          Fax: 844-236-3646
          statefarmfireclaims@statefarm.com

      ~ Section 16.08.01 O.pdf
           19K




. https://mail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search=a ... :r-7226547261880808185&dsqt=1&simpl=msg-a:r-7226547261880808185       ., Page 2 of 2
               Case 3:24-cv-00050              Document 1-1            Filed 01/17/24          Page 67 of 140 PageID #: 71
Gmail - 42-32K7-09Z                                                                                                                   9/15/23, 9:40 AM

                                                                                                                             1111s12bf:JL,,~B.a Pt
                                                                                                             DAVIDSorfttf~~~CT.

       j Gmail
 42-32K7-09Z
 Jackie Fiala <jackiedfiala@gmail.com>                                            Tue, Oct 18, 2022 at 8:40 AM
 To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
 Cc: Michael Leach <mleach@mightydogroofing.com>, Supplements <supplements@mightydogroofing.com>

    Ms. Tolbert,

   I still have not received a written response to my above email, as you promised over the phone. Please elevate my
   claim to your supervisor. My time period to complete the repairs is rapidly approaching, and I am tired of waiting
   weeks for responses.

    I do not want to communicate via telephone on this claim. All further communications should be in writing.

   Kind regards,
   Jackie Fiala

    On Fri, Sep 30, 2022 at 11 :27 AM Jackie Fiala <jackiedfiala@gmail.com> wrote:
      Good Morning Ms. Tolbert,

      I am writing to one again follow up on our insurance claim for the damage to the interior and the roof. I would like to
      know the status of my claim. Given the convoluted history of this claim, here is a brief history to refresh your
      recollection.

      I filed the claim under my homeowner's policy on April 6, 2022 when water began leaking through our roof. Two
      adjusters came to our home in the spring of 2022, one to estimate the interior damage and another to estimate the
      damage to the roof. State Farm estimated the interior damage alone to cost $7,380.59. The roof adjuster came to
      the house on April 24, 2022 and wrongfully determined that there was no damage to the roof. I received
      correspondence from State Farm dated May 6, 2022 stating that the damage did not exceed our deductible. You
      and I spoke on the phone on or around June 1, 2022 regarding the May 6 correspondence. I informed you that my
      roofing contractor, Mighty Dog Roofing, had photographs evidencing the storm damage to the roof. On June 21,
      2022, I emailed you the photographs, and an estimate of the costs to remedy the roof damage. Upon receiving the
      documentation from Mighty Dog Roofing, State Farm sent a second roof adjustor, Vic, to our property on or around
      July 27, 2022. After viewing the roof, Vic from State Farm left me a voicemail dated July 27, 2022 stating that he
      completed the estimate and the roof damage would cost $6,924.06 to remedy. Vic further (incorrectly) stated in the
      voicemail that the loss was still below our deductible.

      I returned Vic's call the same day, and left a voicemail informing him that the loss exceeded the deductible given the
      interior and exterior damage. Indeed, the policy documents provide that "deductibles are applied per occurrence."
       The policy defines "occurance" to mean "an accident ... , which results in ... (b) property damage." The policy
      further explains that "[a]II bodily injury or property damages resulting from one accident, series of related accidents,
      or from continuous or repeated exposure to the same general conditions is considered to be one occurrence. "
       (Emphasis added). Neither Vic nor anyone else from State Farm returned my call. I did not receive a written
      estimate for the roof damage. I have a copy of the voicemail from Vic I am happy to share with you.

      On or around August 30, 2022, I called State Farm asking to speak to you about the same issue, but you were
      unavailable. I updated the State Farm agent that assisted me informing him that our deductible is $8,070.00 and,
      according to State Farm's estimates, the losses would cost a total of $14,304.65 - $6,234.65 above our
      deductible. Though the agent with whom I spoke assured me that you would return my call within 24 hours, you
      did not. Mighty Dog's Supplements team sent you additional photographs and information regarding the damage in
      September 2022.

https://mail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search= ... -a:r5623974602488769299&dsqt=1&simpl=msg-a:r5623974602488769299        Page 1 of 3
              Case 3:24-cv-00050             Document 1-1            Filed 01/17/24          Page 68 of 140 PageID #: 72
Gmail - 42-32K7-09Z                                                                                                                   9/15/23, 9:40 AM




      On September 17, 2022, State Farm uploaded a revised estimate. The September 17 estimate provides that State
      Farm would replace 7.04 square feet of roofing at an estimated all-inclusive cost of $6,368.52. The written estimate
      for the exterior damage costs is $555.54 lower than the figure Vic provided in his July 27 voicemail. The September
      17 estimate states the cost to remedy the interior damage is $7313.31, which is curiously $67.28 below the estimate
      for the same interior damage provided by State Farm in Spring 2022. Pursuant to the policy documents and the
      definition of "occurrence", the interior and exterior damage costs, which all resulted from the same storm event,
      should be added together. The September 17 estimate fails to do so. Indeed, pursuant to the September 17
      estimate, the total cost to remedy the damage is $13,681.83, which is $5,611.83 above our deductible. However, if
      the loss is computed using the first set of estimates ($7380.59 for the interior damage from the Spring 2022
      estimate and $6,924.06 from Vic's July 27 voicemail for the roof damage), the total loss for this occurrence is
      $14,304.65 - $6,234.65 above our deductible.

      Still, one further issue we must take into consideration concerns State Farm's proposed roof repair and the
      applicable building codes. Davidson County Building Codes does not permit repairs to double-layer shingle roofs.
      Indeed complete replacement, and not repairs, are the only compliant fix for a roof that has a double layer of
      shingles, as ours does. As you may already be aware, Section 16.08.010 of the Metropolitan Nashville Building
      Code adopts by reference the 2018 edition of the International Building Code. Section 16.08.010 is attached for
      reference. Section 15.11.3.1.1 of the 2018 edition of the International Building Code sets forth exceptions where a
      roof repair is impermissible. Subsection 15.11.3.1.1 (3) specially prohibits repairs to roofs "[w]here the existing roof
      has two or more applications of any type of roof covering." The 2018 edition of the International Building Code can
      be accessed by this link, https://codes.iccsafe.org/content/lBC2018P6/chapter-15-roof-assemblies-and-rooftop-
      structures#IBC2018P6- Ch15- Sec1511.3.1.

      Seeing that my roof has two applications of roof covering - it is a double-layer shingle roof - it falls under the
      exception set forth in Section 15.11.3.1.1 (3) and a repair would be in violation of the Building Code. Therefore,
      State Farm's proposal to replace 7.04 square feet of shingles would violate the applicable building codes.

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      moving this claim forward such that the repairs can be completed by State Farm's two-year after loss deadline, I
      would like to escalate this matter to management moving forward. I am hopeful that we can work together to reach
      an amicable solution that complies with all applicable building code sections. My husband and I have been loyal
      State Farm customers with numerous policies for more than 30 years with almost no claims. Now, we need the
      help and insurance we have been purchasing for decades and feel abandoned, unimportant, and that we are being
      given the runaround. I am happy to schedule a telephone call to further discuss any of the issues set forth herein.

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      Jackie Fiala
      615-364-6251




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         discussing why the damage must be due to hail, a report with photographs of the hail damage completed by
         Mighty Dog Roofing, and an estimate of the costs to remedy the damage.

         Kindly,
         Jackie Fiala

         On Wed, Jun 1, 2022 at 11 :44 AM HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com> wrote:

            Kindest Regards,


https://mail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search= ... -a:r5623974602488769299&dsqt=1&simpl=msg-a:r5623974602488769299        Page 2 of 3
              Case 3:24-cv-00050             Document 1-1            Filed 01/17/24         Page 69 of 140 PageID #: 73
Gmail - 42-32K7-09Z                                                                                                                   9/15/23, 9:40 AM


            April Tolbert
            External Claim Resource - Alacrity
            State Farm Insurance Companies
            Ph: 844-458-4300 Ext 972-541-6490
            Fax: 844-236-3646
            statefarmfireclaims@statefarm.com




https://mail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search= ... -a:r5623974602488769299&dsqt=1&simpl=msg-a:r5623974602488769299        Page 3 of 3
              Case 3:24-cv-00050             Document 1-1            Filed 01/17/24          Page 70 of 140 PageID #: 74
Gmail - Re: 42-32K7-09Z                                                                                                               9/18:_123 9:51 AM
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                                                                                                             DAVIDSON CO. CHANCERY CT.

       i Gmail
 Re: 42-32K7-09Z
 Jackie Fiala <jackiedfiala@gmail.com>                                                                       Wed, Oct 19, 2022 at 4:25 PM
 To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>

   As we discussed in the spring of this year when I had not received certain correspondence, that is no longer my
   ,contact information. You and I have been communicating through this email address for months, and my initial email
   originated from this email address.

    The delays caused by State Farm are accumulating such that the damage on the interior of the home is worsening.
    When can I expect an email from management?


    On Wed, Oct 19, 2022 at 3:30 PM HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com> wrote:
      Hi Jackie,

      Please find attached the original email response sent to you on October 1, 2022 addressing your concerns. If
      appears that the letter was sent to the email address JACKIE.GARFIELD@WALLERLAW.COM. Per your request, I
      have forwarded the claim to management to make contact with you.

      Kindest Regards,

      April Tolbert
      External Claim Resource - Alacrity
      State Farm Insurance Companies
      Ph: 844-458-4300 Ext 972-541-6490
      Fax: 844-236-3646
      statefarmfireclaims@statefarm.com




https://mail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search= ... gid=msg-a:r6345699006155302653&simpl=msg-a:r6345699006155302653         Page 1 of 1
              Case 3:24-cv-00050             Document 1-1            Filed 01/17/24         Page 71 of 140 PageID #: 75
Gmail - Fiala Roof Claim                                                                                                           9/15/23, 11 :43 AM
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                                                                                                              0Av1osoi'ilc&'c~~R~ CT.
 t-'i Gmail                                                                                     Jac!de Fiala <jaddedfiala@gmaiLcom>



 Fiala Roof Claim
 Jackie Fiala <jackiedfiala@gmail.com>                                                                        Thu, Mar 2, 2023 at 12:28 PM
 To: "marty.luffman.bwmi@statefarm.com" <marty.luffman.bwmi@statefarm.com>

    Hi Marty,

    I've attached my most recent email, which summarizes the situation generally.

    Also, my roofer believes my shingles are discontinued. As Tennessee is a matching state, that means the approved
    repairs to the roof would need to be done as a replacement so all the new shingles would match. See below TN code:

    "0780-01-05-.10 STANDARDS FOR PROMPT, FAIR AND EQUITABLE SETTLEMENTS APPLICABLE
    TO FIRE AND EXTENDED COVERAGE TYPE POLICIES WITH REPLACEMENT COST COVERAGE.
    (1) When the policy provides for the adjustment and settlement of first party losses based on
    replacement cost, the following shall apply:
    (a) When a loss requires repair or replacement of an item or part, any consequential
    physical damage incurred in making such repair or replacement not otherwise excluded
    by the policy, shall be included in the loss. The insured shall not have to pay for any
    cost except for betterment and any applicable deductible under the policy.
    (b) When a loss requires replacement of items and the replaced items do not match in
    quality, color or size, the insurer shall replace items so as to conform to a reasonably
    uniform appearance according to the applicable policy provisions. This applies to
    interior and exterior losses. The insured shall not bear any cost over the applicable
    deductible, if any."


    Please let me know next steps.

    Thanks for your assistance,
    Jackie Fiala


    - - - Forwarded message - - -
    From: Jackie Fiala <jackiedfiala@gmail.com>
    To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>
    Cc: Michael Leach <mleach@mightydogroofing.com>, Supplements <supplements@mightydogroofing.com>
    Bee:
    Date: Tue, 18 Oct 2022 08:40:05 -0500
    Subject: Re: 42-32K7-09Z
    Ms. Tolbert,

    I still have not received a written response to my above email, as you promised over the phone. Please elevate my
    claim to your supervisor. My time period to complete the repairs is rapidly approaching, and I am tired of waiting
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https:/fmail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search=a ... gid=msg-a:r6944430759214363100&simpl=msg-a:r6944430759214363100      Page 1 of 3
               Case 3:24-cv-00050            Document 1-1            Filed 01/17/24          Page 72 of 140 PageID #: 76
Gmail - Fiala Roof Claim                                                                                                                 9/15/23, 11:43 AM



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       structures#IBC2018P6_Ch15_Sec1511.3.1.

https://mail.google.com/mail/u/1/?ik::910fd20ee2&view=pt&search= ... gid::msg-a:r6944430759214363100&simpl::msg-a:r6944430759214363100         Page 2 of 3
                Case 3:24-cv-00050            Document 1-1             Filed 01/17/24          Page 73 of 140 PageID #: 77
Gmail - Fiala Roof Claim                                                                                                              9/15/23, 11:43 AM




       Seeing that my roof has two applications of roof covering - it is a double-layer shingle roof - it falls under the
       exception set forth in Section 15.11.3.1.1 (3) and a repair would be in violation of the Building Code. Therefore,
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             External Claim Resource - Alacrity
             State Farm Insurance Companies
             Ph: 844-458-4300 Ext 972-541-6490
             Fax:844-236-3646
             statefarmfireclaims@statefarm.com



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               Case 3:24-cv-00050             Document 1-1           Filed 01/17/24          Page 74 of 140 PageID #: 78
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 42-32K7-09Z
 Joey Friedl <joey@musiccityroofers.com>                                             Tue, Mar 28, 2023 at 3:42 PM
 To: Jackie Fiala <jackiedfiala@gmail.com>, HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>

    Hello,

    Upon request, here is the estimate for full replacement in Xactimate format for the insured located at 7707 Indian
    Springs Drive Nashville, TN 37221.

    Please let me know if you have any questions or concerns!
    Thank you




    Music City Roofers

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              Case 3:24-cv-00050             Document 1-1            Filed 01/17/24          Page 75 of 140 PageID #: 79
~catf Music City Roofers
    11
~    Ro~fers




                Insured:    Jackie Fiala'
               Property:    7707 Indian Springs Drive
                            Nashville, TN 37221


    Claim Number:                                 Policy Number:                           Type of Loss:

          Date of Loss:                                       Date Received:
         Date Inspected:                                       Date Entered:   3/27/2023 11: 10 AM

              Price List:   TNNA8X MAR23
                            Restoration/Service/Remodel
              Estimate:     FIALA




              Case 3:24-cv-00050            Document 1-1       Filed 01/17/24      Page 76 of 140 PageID #: 80
                     Music City Roofers




                                                            FIALA


                                      Roof

 DESCRIPTION                                       QTY      REMOVE        REPLACE            TAX            TOTAL
 1. Tear off composition shingles (no         32.93 SQ         51.30           0.00           0.00          1,689.31
 haul oft)
 2. Add. layer of comp. shingles,             32.93 SQ         -'1-0.97        0.00           0.00          1,349.14
 remove & disp. - 3 tab
 3. Remove Additional charge for steep         6.89 SQ         15.73           0.00           0.00            108.38
 roof - 7/12 to 9/12 slope
 4. Remove Additional charge for steep        12.60 SQ         24.72           0.00           0.00           311.47
 roof - 10/12 - 12/12 slope
 5. Remove Additional charge for steep         3.56 SQ         30.17           0.00           0.00            107.41
 roof greater than 12/12 slope
 6. Valley/Ice & water barrier               240.00 SF          0.00           1.82           8.21           445.01
 7. R&R Drip edge                            447.00 LF          0.46           3.68         49.20           1,899.78
 8. Roofing felt - 15 lb.                     30.53 SQ          0.00          39.21          19.63          1,216.71
 9. Asphalt starter - universal starter      447.00 LF          0.00           2.31         22.33           1,054.90
 course
 10. 3 tab - 25 yr. - comp. shingle           36.33 SQ          0.00         239.46        386.56           9,086.14
 roofing - w/out felt
 11. Additional charge for steep roof -        6.89 SQ          0.00          56.83           0.00           391.56
 7/12 to 9/12 slope
 12. Additional charge for steep roof -       12.60 SQ          0.00          89.32           0.00          1,125.43
 10/12 - 12/12 slope
 13. Additional charge for steep roof          3.56 SQ          0.00          93.33           0.00           332.25
 greater than 12/12 slope
 14. Flashing - pipe jack                      2.00 EA          0.00          53.88          2.46             110.22
 15. Step flashing                            96.00 LF          0.00          11.78          13.50          1,144.38
 16. R&R Counterflashing - Apron              52.00 LF          0.67          11.90           6.97           660.61
 flashing
 17. Exhaust cap - through roof - 6" to        1.00 EA          0.00          99.15           3.16            102.31
 8"
 18. Continuous ridge vent - shingle-         80.00 LF          0.00          10.13         24.86            835.26
 over style
 19. Ridge cap - Standard profile -           98.00 LF          0.00           6.22         22.57            632.13
 composition shingles
 20. Gutter guard/screen - High grade -      136.00 LF          0.00          12.79           0.00          1,739.44
 Detach & reset
 21. Roof window- Detach & reset               6.00 EA          0.00         180.70           0.00          1,084.20
 22. R&R Roof window step flashing             3.00 EA          8.30         182.49         40.90            613.27
 kit- Large
 23. R&R Roof window step flashing             3.00 EA          6.92         161.50         36.84            542.10
 kit

 Totals: Roof                                                                              637.19          26,581.41
FIALA                                                                                      3/27/2023          Page:2

            Case 3:24-cv-00050               Document 1-1   Filed 01/17/24   Page 77 of 140 PageID #: 81
                  Music City Roofers




                                  Debris Removal

 DESCRIPTION                                 QTY        REMOVE       REPLACE             TAX            TOTAL

 24. Dumpster load - Approx. 20 yards,    1.00 EA         638.43          0.00           0.00            638.43
 4 tons of debris

 Totals: Debris Removal                                                                  0.00            638.43

 Line Item Totals: FIALA                                                               637.19          27,219.84




FIALA                                                                                  3/27/2023          Page:3

          Case 3:24-cv-00050             Document 1-1   Filed 01/17/24   Page 78 of 140 PageID #: 82
™~i'cdtt Music City Roofers
\ ( 'Jfo'~fers




                                           Summary for Dwelling
 Line Item Total                                                                             26,582.65
 Material Sales Tax                                                                             637.19

 Replacement Cost Value                                                                     $27,219.84
 Net Claim                                                                                  $27,219.84




FIALA                                                                           3/27/2023        Page:4


            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24    Page 79 of 140 PageID #: 83
               Music City Roofers




                                                   Recap of Taxes




                         Material Sales Tax P Ppty Material Tax P Ppty Cleaning Tax   Storage Rental Tax   Food Tax (7.25%)
                                   (9.25%)             (9.25%)              (9.25%)             (9.25%)

· Line Items                        637.19                • 0.00               0.00                 0.00               0.00

 Total                              637.19                 0.00                0.00                 0.00               0.00




FIALA                                                                                             3/27/2023            Page:5

           Case 3:24-cv-00050     Document 1-1          Filed 01/17/24        Page 80 of 140 PageID #: 84
rn:.:},cftr     Music City Roofers
~ Ro~fers
   1




                                           Recap by Room

Estimate: FIALA
       Roof                                                                  25,944.22     97.60%
       Debris Removal                                                           638.43      2.40%

Subtotal of Areas                                                            26,582.65     100.00%


Total                                                                        26,582.65     100.00%




FIALA                                                                          3/27/2023       Page:6

         Case 3:24-cv-00050      Document 1-1   Filed 01/17/24   Page 81 of 140 PageID #: 85
                Music City Roofers




                                          Recap by Category


 Items                                                                           Total             %
 GENERAL DEMOLITION                                                             4,490.26       16.50%
 ROOFING                                                                       18,236.78       67.00%
 SOFFIT, FASCIA, & GUTTER                                                       1,739.44        6.39%
 WINDOWS - SKYLIGHTS                                                            2,116.17        7.77%
 Subtotal                                                                      26,582.65       97.66%
 Material Sales Tax                                                               637.19        2~34%

 Total                                                                         27,219.84       100.00%




FIALA                                                                          3/27/2023          Page:7

         Case 3:24-cv-00050      Document 1-1   Filed 01/17/24   Page 82 of 140 PageID #: 86
                                                                                                                E-FILED
                                                                                                      11/15/2023 12:28 PJ
                                                                                     DAVIDSON   co.Ce'1N~et!J4¥f!f.R
Providing Insurance and Financial Services
Home Office, Bloomington, IL                                                         A State Farm®


April 4, 2023


Bill Fiala                                                   State Farm Claims
7707 Indian Springs Dr                                       PO Box 106169
Nashville TN 37221-1128                                      Atlanta GA 30348-6169




RE:      Claim Number:              42-32K7-09Z
         Policy Number:             42B6P0230
         Date of Loss:              July 31, 2021

Dear Bill Fiala:

We will give your claim further consideration once we receive the requested information as
outlined below:

         Please submit supporting documents regarding your Contractors estimate to warrant a
         Total Roof replacement to the claims department for review.

                                             SECTION I - CONDITIONS

      2. Your Duties After Loss. After a loss to which this insurance may apply, you shall see
         that the following duties are performed:

             a) give immediate notice to us or our agent. Also notify the police if the loss is
                caused by theft. Also notify the credit card company or bank if the loss involves a
                credit card or bank fund transfer card;

             b) protect the property from further damage or loss, make reasonable and
                necessary temporary repairs required to protect the property, keep an accurate
                record of repair expenditures;

             c) prepare an inventory of damaged or stolen personal property. Show in detail the
                quantity, description, age, replacement cost and amount of loss. Attach to the
                inventory all bills, receipts and related documents that substantiate the figures in
                the inventory;

             d) as often as we reasonably require:

                   (1) exhibit the damaged property;

                   (2) provide us with records and documents we request and permit us to make
                       copies;
Case 3:24-cv-00050              Document 1-1         Filed 01/17/24     Page 83 of 140 PageID #: 87
42-32K7-09Z
Page2
April 4, 2023



                (3) submit to and subscribe, while not in the presence of any other insured:

                       a. statements; and

                       b. examinations under oath; and

                (4) produce employees, members of the insured's household or others for
                    examination under oath to the extent it is within the insured's power to do so;
                    and

           e. submit to us, within 60 days affer the loss, your signed, sworn proof of loss which
              sets forth, to the best of your knowledge and belief:

                (1) the time and cause of loss;

                (2) interest of the insured and all others in the property involved and all
                encumbrances on the property;

                (3) other insurance which may cover the loss

                (4) changes in title or occupancy of the property during the term of this policy;

                (5) specifications of any damaged building and detailed estimates for repair of
                the damage;

                (6) an inventory of damaged or stolen personal property described in 2.c;

                (7) receipts for additional living expenses incurred and records supporting the fair
                rental value loss; and

                (8) evidence or affidavit supporting a claim under the Credit Card, Bank Fund
                Transfer Card, Forgery and Counterfeit Money coverage, stating the amount and
                cause of loss.

By requesting additional information, our actions should not be construed to be a waiver of any
policy provisions, conditions, and/or reasons for denial that might be discovered upon later
investigation. State Farm Fire and Casualty Company does not intend, by this letter, to waive
any rights, but specifically reserves all rights and defenses that may be applicable to this claim
pursuant to the insurance policy or statutory or common law.

If you have questions or need assistance, call us at (844) 458-4300 Ext. 9726001617.




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42-32K7-09Z
Page3
April 4, 2023


Sincerely,



Marcus K Thomas
External Claim Resource - Pilot
(844) 458-4300 Ext. 9726001617
Fax: (844) 236-3646
statefarmfireclaims@statefarm.com
For your protection, when emailing-State Farm, please do not include sensitive personal information such as Social Security
Number, credit/debit card number (financial account number), driver's license number, or health/medical information in an email.
Please contact us at (844) 458-4300 Ext. 9726001617 to discuss sensitive information.


State Farm Fire and Casualty Company



Take advantage of our self-service options
Go to statefarm.com® to easily review claim status, update direct deposit account information for claim
payments and many other insurance and banking services.




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Gmail - 42-32K7-90Z                                                                                                                       9/15/23, 1:22 PM
                                                                                                                                           E-FILED

                                                                                                                oAvmsofb~~jiifH~~
 t--j Gmail
 42-32K7-90Z
 Joey Friedl <joey@musiccityroofers.com>                                                                       Wed, Apr 26, 2023 at 12:27 PM
 To: statefarmfireclaims@statefarm.com, jackiedfiala@gmail.com

    Here I have attached the photo report!
    Thanks

   blob:https://api.companycam.com/8c9ef28f-b298-40c2-bf90-08253151 e431


    1B Jackie Fiala-companycam-report.pdf
         5616K




https:lfmail.google.com/mail/u/1/?ik:::910fd20ee2&view=pt&search= ... msgid:::msg-f:1764260659760533686&simpl=msg-f:1764260659760533686         Page 1 of 1
              Case 3:24-cv-00050               Document 1-1            Filed 01/17/24          Page 86 of 140 PageID #: 90
                                                  Joe Friedl
                                             Music City Roofers

                                            3/24/2023 I 34 Photos




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                                        I   (l-Sl~City
                                              oofers

                                        Jackie Fiala




             Case 3:24-cv-00050   Document 1-1     Filed 01/17/24   Page 87 of 140 PageID #: 91
Cover Page                                           1 / 19                               Jackie Fiala-Jackie Fiala
Jackie Fiala                                                                                      3/24/2023




                                              Section 1




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24   Page 88 of 140 PageID #: 92
Section 1                                           2/ 19                                          Jackie Fiala
Jackie Fiala                                                                                                 3/24/2023




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:19am
                                                       Creator: Joe Friedl




    2




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:19am
                                                       Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24              Page 89 of 140 PageID #: 93
Section 1                                           3/19                                                      Jackie Fiala
Jackie Fiala                                                                                                 3/24/2023




    3




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:20am
                                                       Creator: Joe Friedl




    4




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:20am
                                                      Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24              Page 90 of 140 PageID #: 94
Section 1                                           4/19                                                      Jackie Fiala
Jackie Fiala                                                                                                 3/24/2023




     5




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:20am
                                                       Creator: Joe Friedl




    6




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:21am
                                                       Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24              Page 91 of 140 PageID #: 95
Section 1                                           5 /19                                                     Jackie Fiala
Jackie Fiala                                                                                                 3/24/2023




     7




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:21am
                                                       Creator: Joe Friedl




    8




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:22am
                                                       Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24              Page 92 of 140 PageID #: 96
Section 1                                           6/19                                                      Jackie Fiala
Jackie Fiala                                                                                                 3/24/2023




    9




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:24am
                                                       Creator: Joe Friedl




    10




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:24am
                                                       Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24              Page 93 of 140 PageID #: 97
Section 1                                           7 /19                                                     Jackie Fiala
Jackie Fiala                                                                                                3/24/2023




    11




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:24am
                                                      Creator: Joe Friedl




    12




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:26am
                                                      Creator: Joe Friedl




Section 1
               Case 3:24-cv-00050   Document 1-1   Filed
                                                    8/19
                                                         01/17/24             Page 94 of 140 PageID #: 98    Jackie Fiala
Jackie Fiala                                                                                                 3/24/2023




    13




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:26am
                                                      Creator: Joe Friedl




    14




                                                       Project: Jackie Fiala
                                                       Date: 2/28/2023, 11:26am
                                                       Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed
                                                    9 /19
                                                          01/17/24             Page 95 of 140 PageID #: 99    Jackie Fiala
Section 1
Jackie Fiala                                                                                                    3/24/2023




    15




                                                        Project: Jackie Fiala
                                                        Date: 2/28/2023, 11:26am
                                                        Creator: Joe Friedl




    16




                                                         Project: Jackie Fiala
                                                         Date: 2/28/2023, 11:26am
                                                        Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 96 of 140 PageID #: 100
Section 1                                           10 / 19                                                       Jackie Fiala
Jackie Fiala                                                                                                   3/24/2023




    17




                                                        Project: Jackie Fiala
                                                        Date: 2/28/2023, 11:26am
                                                        Creator: Joe Friedl




    18




                                                        Project: Jackie Fiala
                                                        Date: 2/28/2023, 11:28am
                                                        Creator: Joe Friedl




Section 1
               Case 3:24-cv-00050   Document 1-1   Filed
                                                     11 / 19
                                                             01/17/24           Page 97 of 140 PageID #: 101     Jackie Fiala
Jackie Fiala                                                                                                   3/24/2023




    19




                                                                                                           \




                                                        Project: Jackie Fiala
                                                        Date: 2/28/2023, 11:28am
                                                        Creator: Joe Friedl




    20




                                                        Project: Jackie Fiala
                                                        Date: 2/28/2023, 11:28am
                                                        Creator: Joe Friedl




               Case 3:24-cv-00050   Document 1-1   Filed 01/17/24               Page 98 of 140 PageID #: 102     Jackie Fiala
Section 1                                           12 /19
Jackie Fiala                                                                                                   3/24/2023




    21




                                                        Project: Jackie Fiala
                                                        Date: 2/28/2023, 11:28am
                                                        Creator: Joe Friedl




    22




                                                        Project: Jackie Fiala
                                                        Date: 2/28/2023, 11:29am
                                                        Creator: Joe Friedl




Section 1
               Case 3:24-cv-00050   Document 1-1   Filed
                                                    .13 /19
                                                            01/17/24            Page 99 of 140 PageID #: 103     Jackie Fiala
Jackie Fiala                                                                                                 3/24/2023




    23




                                                     Project: Jackie Fiala
                                                     Date: 2/28/2023, 11:29am
                                                     Creator: Joe Friedl




    24




                                                     Project: Jackie Fiala
                                                     Date: 2/28/2023, 11:29am
                                                     Creator: Joe Friedl




            Case 3:24-cv-00050   Document 1-1   Filed  01/17/24
                                                   14/19
                                                                             Page 100 of 140 PageID #: 104     Jackie Fiala
Section 1
Jackie Fiala                                                                                                 3/24/2023




    25




                                                     Project: Jackie Fiala
                                                     Date: 2/28/2023, 11:29am
                                                     Creator: Joe Friedl




    26




                                                     Project: Jackie Fiala
                                                     Date: 2/28/2023, 11:29am
                                                     Creator: Joe Friedl




            Case 3:24-cv-00050   Document 1-1   Filed   01/17/24
                                                   15/ 19
                                                                             Page 101 of 140 PageID #: 105     Jackie Fiala
Section 1
Jackie Fiala                                                                                                 3/24/2023




    27




                                                     Project: Jackie Fiala
                                                     Date: 2/28/2023, 11:29am
                                                     Creator: Joe Friedl




    28




                                                     Project: Jackie Fiala
                                                     Date: 2/28/2023, 11:30am
                                                     Creator: Joe Friedl




Section 1
            Case 3:24-cv-00050   Document 1-1   Filed   01/17/24
                                                   16 /19
                                                                             Page 102 of 140 PageID #: 106     Jackie Fiala
Jackie Fiala                                                                                                  3/24/2023




    29




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:30am
                                                      Creator: Joe Friedl




    30




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:30am
                                                      Creator: Joe Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 103 of 140 PageID #: 107     Jackie Fiala
Section 1                                         17 /19
Jackie Fiala                                                                                                  3/24/2023




    31




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:30am
                                                      Creator: Joe Friedl




    32




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:31am
                                                      Creator: Joe Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 104 of 140 PageID #: 108
Section 1                                         18 /19                                                        Jackie Fiala
Jackie Fiala                                                                                                   3/24/2023




    33




                                                      Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:31am
                                                      Creator: Joe Friedl




    34




                                                     . Project: Jackie Fiala
                                                      Date: 2/28/2023, 11:34am
                                                      Creator: Joe Friedl




Section 1
            Case 3:24-cv-00050   Document 1-1   Filed    01/17/24
                                                   19 / 19
                                                                               Page 105 of 140 PageID #: 109    Jackie Fiala
Gmail - (no subject)                                                                                                                   9/15/23, 1:33 PM

                                                                                                                              tic.~f#f,&f~
                                                                                                              DAVIDSON CO. CHANCERY CT.

 ~d Gmail                                                                                        ,Jac;da Fiala <jac:dedflala@gmail.com>



 (no subject)
 Jackie Fiala <jackiedfiala@gmail.com>                                                                     Wed, May 17, 2023 at 10:53 AM
 To: HOME CLMS-FIRECLAIMS <statefarmfireclaims@statefarm.com>

    Hi Marcus,

    Following up on my call yesterday and last week. Were you able to contact the Department of Codes? Any
    information on an extension of our completion deadline?

    Thanks,
    Jackie Fiala
    615-364-6251

    On Wed, Apr 26, 2023 at 4:04 PM Jackie Fiala <jackiedfiala@gmail.com> wrote:
      CLAIM #42-32K7-09Z

       On Wed, Apr 26, 2023 at 1:27 PM Jackie Fiala <jackiedfiala@gmail.com> wrote:
         Marcus:

          Following up on the call from Joey Friedl, please see the attached report from our contractor. This claim should
          not be closed, and we request that it be reopened. We are actively working with State Farm to resolve it.

          Please let me know how I can help speed the process along as it has been ongoing for nearly two years and we
          would like to put this behind us.

          Thanks,
          Jackie Fiala, homeowner
          615-364-6251




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                  Case 3:24-cv-00050                   Document 1-1                 Filed 01/17/24               Page 106 of 140 PageID #: 110
Gmail - Please send to me ASAP                                                                                                     11/15/23, 11:48 AM
                                                                                                                                     E-FILED
                                                                                                                              11/15/2023 12:28 PM
                                                                                                              DAv1osorGlW.'c~~~cT.

 ~~ Gmail                                                                                        .Jackia Fia!a <jackiedfiala@gmaiLc.om>



 Please send to me ASAP
 Jackie Fiala <jackiedfiala@gmail.com>                                                                          Mon, Jun 5, 2023 at 9:52 AM
 To: Joey Friedl <joey@musiccityroofers.com>

    Hi Joey,

    Please cut and paste the below into a new email from you to me. Please copy Marcus at statefarmfireclaims.com and
    I will upload to our claim to be sure it goes to the right place. Thanks!


    Hi Marcus,

    We understand that State Farm has approved a partial roof replacement for claim number 42-32K7-09Z.
    Unfortunately, due to the applicable building code, R904.2 Compatibility of Materials,
     a partial replacement is not an option in this case. Tennessee is a "matching state," and the codes require shingles
    on roofs to match. The shingles on the existing roof are discontinued, so it is impossible to match the shingles for a
    partial replacement. Please send a representative to the home to take a sample and verified the discontinued status
    of the shingles. Because the shingles are discontinued, the only way to fix the Fiala roof and to be compliant with
    building codes is to do an entire full roof replacement.

    Thanks,
    Joey




https://mail.google.com/mail/u/1/?ik=910fd20ee2&view=pt&search=a ... sgid=msg-a:r2807984261770709212&simpl=msg-a:r2807984261770709212     Page 1 of 1




                Case 3:24-cv-00050                     Document 1-1                 Filed 01/17/24               Page 107 of 140 PageID #: 111
Gmail - 4232K709Z                                                                                                                                          9/15/23L2:03 PM
                                                                                                                                                   E-FI ED
                                                                                                                                            11/15/2023 12:28 P/1,,
                                                                                                                                         CLERK & MASTER
                                                                                                                                  DAVIDSON CO. CHANCERY CT.

                                                                                                                  Jackie fnala <.i.adtiecrna!a@grnall.com>



 4232K709Z
 Joey Friedl <joey@musiccityroofers.com>                                                                                             Fri, Jul 21, 2023 at 7:22 AM
 To: statefarmfireclaims@statefarm.com
 Cc: jackiedfiala@gmail.com

    Hello,

    I have performed a match test to verify compatibility of the suggested shingles with the existing shingles on the Fiala's
    home.


    You will see in the photo report attached:

    -A new pack of Owens Corning Supreme Brownwood (Suggested match)
    -Receipt of purchase on that day
    - Suggested shingles placed on existing roof
    - Suggested shingles not matching in color with existing shingles
    -Suggestd shingles not matching in dimensions with existing shingles

    I have CC'd Mrs. Fiala on email and we look forward to a prompt response!

    Please let me know if you have any questions!
    Thanks



     'f!'I Jackie Fiala Match Test-companycam-report.pdf
           4339K




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              Case 3:24-cv-00050                    Document 1-1               Filed 01/17/24              Page 108 of 140 PageID #: 112
                                             Joey Friedl
                                         Music City Roofers

                                        7/21/2023 I 18 Photos




                          Jackie Fiala Match Test




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Cover Page                                      1 / 11                          Jackie Fiala-Jackie Fiala Match Test
Jackie Fiala Match Test                                                                          7/21/2023




                                            Section 1




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Section 1                                         2 / 11                                         Jackie Fiala
       Jackie Fiala Match Test

                                                                                                                  7/21/2023




                                                         Project: Jackie Fiala
                                                         Date: 7/19/2023, 4:06pm
                                                         Creator: Joey Friedl



       2




                                                     Project: Jackie Fiala
                                                     Date: 7/19/2023, 4:07pm
                                                     Creator: Joey Friedl




Section 1    Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                 Page 111 of 140 PageID #: 115
                                                 3 /11
                                                                                                            Jackie Fiala
Jackie Fiala Match Test                                                                                      7/21/2023




    3




                                                     Project: Jackie Fiala
                                                     Date: 7/19/2023, 4:07pm
                                                     Creator: Joey Friedl




    4




                                                     Project: Jackie Fiala
                                                     Date: 7/19/2023, 4:07pm
                                                     Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24               Page 112 of 140 PageID #: 116
Section 1                                         4/11                                                        Jackie Fiala
Jackie Fiala Match Test                                                                                       7/21/2023




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:13pm
                                                     Creator: Joey Friedl




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:13pm
                                                      Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 113 of 140 PageID #: 117
Section 1                                         5 /11                                                        Jackie Fiala
Jackie Fiala Match Test                                                                                       7/21/2023




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:13pm
                                                      Creator: Joey Friedl




    8




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:13pm
                                                      Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 114 of 140 PageID #: 118
Section 1                                         6 /11                                                        Jackie Fiala
Jackie Fiala Match Test                                                                                       7/21/2023




    9




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:21pm
                                                      Creator: Joey Friedl




    10




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:21pm
                                                      Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 115 of 140 PageID #: 119
Section 1                                         7 / 11                                                       Jackie Fiala
Jackie Fiala Match Test                                                                                       7/21/2023




                                                     Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:23pm
                                                     Creator: Joey Friedl




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:23pm
                                                      Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 116 of 140 PageID #: 120
Section 1                                         8 /11                                                        Jackie Fiala
Jackie Fiala Match Test                                                                                       7/21/2023




                                                     Project: Jackie Fiala
                                                     Date: 7/19/2023, 4:23pm
                                                     Creator: Joey Friedl




                                                      Project: Jackie Fiala
                                                      Date: 7/19/2023, 4:23pm
                                                      Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                Page 117 of 140 PageID #: 121
Section 1                                         9 /11                                                        Jackie Fiala
Jackie Fiala Match Test                                                                                      7/21/2023




                                                     Project: Jackie Fiala
                                                     Date: 7/19/2023, 4:23pm
                                                     Creator: Joey Friedl




                                                     Project: Jackie Fiala
                                                     Date: 7/19/2023, 4:23pm
                                                     Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24               Page 118 of 140 PageID #: 122
Section 1                                         10/11                                                       Jackie Fiala
Jackie Fiala Match Test                                                                                        7/21/2023




    17




                                                       Project: Jackie Fiala
                                                       Date: 7/19/2023, 4:24pm
                                                       Creator: Joey Friedl




    18




                                                       Project: Jackie Fiala
                                                       Date: 7/19/2023, 4:27pm
                                                       Creator: Joey Friedl




            Case 3:24-cv-00050   Document 1-1   Filed 01/17/24                 Page 119 of 140 PageID #: 123
Section 1                                         11 / 11                                                       Jackie Fiala
                                                                        Attn: Joey Friedl             From: /TEL Laboratories, Inc.
                                                ASPHALT ROOFING

                      it l
                                                                        Co: Music City Roofers       Ph: 800-890-4835
                                                EVALUATION                                            customerexperience@itelinc.co
                                                CONTROL#: RRS1003831 _.__c_LA_I_M_#:_4_23_2_K_70_9_Z_ _ _ _ _E-E1'f-Ef",........,
.,---,---,,...,...,....,...,....~==,,,,----------------------------+'1+4:~R9-i~~H-fr-lM
                                       -·1
 ,CUst6rini;Rj"fFo Customer: Vendor Cust. ID: CUST0004                      CLERK & MASTER
 Adjuster: Pre-Paid Not a Bill                                    DAVIDSON CO. CHANCERY CT.
    Additional: Music City Roofers                        Vendor Job#:                   Contact: Joey Friedl                  E-mail: joey@musiccityroofers.com
    Date Invoiced: 7/17/2023                      Date Received: 7/14/2023

    LOSS INFO:                I Insured Name: Bill Fiala                       Claim #: 4232K709Z
    Loss Location: Nashville, TN 37221                             Area Damaged:                     Loss Date: 7/21/2023

• ()RIGrNAL PRODUCT 'IDENTIFICATION                                                Id        The original product is discontinued; matching products are available. (see
                         ,                                                           l.:!J   comments).

    Product: Owens Corning Classic                                                                                                      Type: 3-Tab Standard
    Color: Brownwood                                                       Warranty: 20                                                 Height: 12.000            Width: 36.000
    Mat: Fiberglass                                                        Specialty Granules: None
    Manufacturer Info: www.owenscorning.com I (800) 438-7465
    Comments: • The original shingle may be available through the Discontinued Shingle Location service. Please call /TEL Customer
    Experience for details: 800-890-4835.
    Comments: • The original sample has weathering and granular loss. The sample was cleaned with a mild bleach solution prior to color
     granule analysis.


_M_A_:r_,c_H_1N_G_._:P_R_o_,o_u_c_Ts_.
1
                                                   ----~I ~
      MATCH 1 Owens Corning Supreme AR                                                                                                   Type: 3-Tab Standard
      Color: Brownwood                                                      Color Matched To:CurrentColor                                Warranty: 25             Mat: Fiberglass
    ~C_o_m_p-ar-is_o_n-to_S_u_b_m_itt_e_d_S_am_p_le_:_ _ _D_iffe_re_nt--------s-;m-i/a-,--------sa_m_•                                            Suppliers:
                                                                                                           3 --,---,---,-~~2i'----,-~~~.,--C-j1
    1 - - - - - - - - - - - - - - - . - ' s ' , - - - , - - - , - - - , - - - , - - - ,4---,---,---,---,---i'-                                    • ABC Supply #110, 15 miles: 615-883-0152,
     Warranty                                                                                                                                       Nashville, TN, 37210
                                                                                                                                                  • Best Distributing Company, 15 miles:
     Physical Characteristics*                                                                                                                      615-244-9378, Nashville, TN, 37210
                                                                                                                                                  • RoofingSupplyGroup, 15miles:615-242-7663,
     Physical Dimensions                                                                                                                            Nashville, TN, 37210
     Original Color                                                                                                                               Manufacturer Info:
                                                                                                                                                  www.owenscorning.com I (BOO) 438-7465
     Current Color

    * "Physical Characteristics" considers mat composition, specialty granules, tab/cutout shapes and construction comparisons

    ADBl'rlONALCOMMl;Nl"S                                j See PERSONALIZED HOMEOWNER ROOFING MATCH REPORT page for photo comparison.
    • Installers should verify visual and dimensional compatibility before purchasing and installing replacement products.
    • We want to hear from you! Please contact /TEL Customer Experience with any questions: itelinfo@itelinc.com or 800-890-4835.

                             Control Number: RRS10038315                                         Claim #: 4232K709Z                                       ITEL Tax ID #: XX-XXXXXXX
    INVOICE
      Analysis Fee: $135.00
      Shipping Fee: $18.17
     Please note Customer ID # and Control # on all
                                                                                     I TOTAL DUE FOR THIS TEST: $153.17
                                                                                     FEDERAL TAX ID NUMBER: XX-XXXXXXX
     correspondence.
    Comments:
          • THIS INVOICE IS FOR YOUR RECORD ONLY! Our records indicate that this invoice has been pre-paid by credit card or check.

                /TEL Laboratories• 6676 Corporate Center Parkway, Suite 107 • Jacksonville, FL 32216 • Office: 800.890.4835 • www.itelinc.com




                     Case 3:24-cv-00050                             Document 1-1                       Filed 01/17/24                     Page 120 of 140 PageID #: 124
                                                                                                                                                                Print Date 7/31/2023 8:37:53 AM
                                                                                 nsured Name: Bill Fiala
                         f Hom~owner's Personalized                              Claim Number: 4232K709Z
                                                                                 Report#: RRS10038315 Date: 7/17/2023
                         l~ Roofing Match Report
Your Roofing: Your original shingle is discontinued, matching products are
available.
-------·------
 Specifications ofYour Roofing:                                                         Helpful Comments:
 Product: Owens Corning Classic                                                         • The original shingle may be available through
 Type: 3-Tab Standard                                                                    the Discontinued Shingle Location service.
                                                                                        Please call /TEL Customer Experience for
 Color: Brownwood                                                                       details: 800-890-4835.
 Warranty: 20
 Mat: Fiberglass
 Manufacturer Info:
 www.owenscorning.com I (800) 438-7465


                                         Match 1: Owens Corning Supreme AR
                                - ~ - - - - - · ----------------·--------------                   ------------··-·------- ------
                                                                                    Where to Buy:
                                   Color: Brownwood                      • ABC Supply #110 - 15 miles away,
                                   Color Matched To: Current Color         615-883-0152, Nashville, TN, 37210
                                                                         • Best Distributing Company - 15 miles
                                   Warranty: 25
                                                                           away, 615-244-9378, Nashville, TN, 37210
                                   Mat: Fiberglass                       • Roofing Supply Group - 15 miles away,
                                   Manufacturer Info:                      615-242-7663, Nashville, TN, 37210
                                   www.owenscorning.com I (800) 438-7465 Distributor inventory varies; specific products and colors
                                                                                    may need to be ordered. Some distributors will only sell
                                                                                    to licensed roofing contractors.




            /TEL CERTIFIED MATCH
            /TEL performed a national search based on the specifications and color of your product to find the best available
            match. If you have questions, contact /TEL Customer Experience: itelinfo@itelinc.com or call 800-890-ITEL
            (4835).

IMPORTANT NOTE CONCERNING COLOR: /TEL strives to accurately reproduce the color of the products shown above. However,
due to manufacturing variances, differences in computer monitors, printer accuracy, and variation in natural exterior lighting, actual
colors may differ from the images. Be sure to check a roofing sample or manufacturer color swatch before making a final color selection
and purchase.




          Case 3:24-cv-00050              Document 1-1            Filed 01/17/24         Page 121 of 140 PageID #: 125
                                                                                                              Print Date 7/31/2023 8:37:53 AM
        IN THE CHANCERY COURT FOR THE TWENTIETH JUDICIAL DISTRICT
                         AT NASHVILLE, TENNESSEE

   JACQUELYNE D. FIALA and                              )
   WILLIAM T. FIALA,                                    )
                                                        )
          Plaintiffs,                                   )
                                                        )
   v.                                                   )       Case No.
                                                        )
   STATE FARM FIRE AND CASUALTY                         )       JURYDEMAND
   COMPANY,                                             )
                                                        )
          Defendant.                                    )


                   PLAINTIFFS' FIRST SET OF INTERROGATORIES AND
                     REQUEST FOR PRODUCTION OF DOCUMENTS
                    TO STATE FARM FIRE AND CASUALTY COMPANY


          Pursuant to Tenn. R. Civ. P. 26 and 33, Plaintiffs Jacquelyne D. Fiala and William T. Fiala

   (collectively, "Insureds") propound the following First Set of Interrogatories and Requests for

  • Production of Documents upon Defendant State Farm Fire and Casualty Company, NAIC CoCode

   25143, ("State Farm") to be responded to separately and fully, under oath, within forty-five (45)

   days after the date of service of these requests upon you or your attorney.

                                             INSTRUCTIONS

          These discovery requests are to be answered separately and fully, in writing and under oath,

   within the time limits described above.

          1.      If you object to answering any of these discovery requests, or withhold documents

   from production in response to these requests, in whole or in part, please state in full your

   objections and/or reasons for not responding and state all factual and legal justifications that you

   believe support your objection or failure to answer or produce. If you object to answering only part

   of a discovery request, specify the part to which you object and respond to the remainder.




Case 3:24-cv-00050        Document 1-1         Filed 01/17/24        Page 122 of 140 PageID #: 126
          2.        If you deem any request to call for privileged information or documents, and assert

   such privilege to avoid divulging such information or producing such documents, please provide

   a privilege log containing information sufficient so that a court may rule on the claim of privilege.

   Such log should be produced contemporaneously with your answers and responses hereto, and

   should provide the following information with respect to each item of information or each

   document so withheld:

                    a.     Description of allegedly privileged communication or document withheld;

                    b.     Persons present during or participating in allegedly privileged
                           communication, or author(s) and recipient(s) of document withheld;

                    c.     Date of allegedly privileged communication or document withheld;

                    d.     Subject matter of allegedly privileged communication or document
                           withheld;

                    e.     Type of document withheld (e.g., letter, memorandum or computer
                           database);

                    f.     Nature ofprivilege(s) claimed; and

                    g.     The paragraph(s) of these discovery requests to which the allegedly
                           privileged communication or document relates.

           3.       If any document or tangible item requested herein was at one time in existence and

   under your possession, custody or control but has been lost, discarded or destroyed or has been

   removed from your possession, custody or control, with respect to each such document or other

   tangible item:

                    a.     Identify and describe each such document or other tangible item by date,
                           title, and type, nature or kind;

                    b.      State when each such document or other tangible item was most recently in
                           •your possession or subject to your control and what disposition was made
                            of such document or other tangible item, including an identification of the
                            person, if any, presently in possession or control of such document or other
                            tangible item;

                    c.      State when such document or other tangible item was transferred or


                                                     2


Case 3:24-cv-00050          Document 1-1         Filed 01/17/24       Page 123 of 140 PageID #: 127
                          destroyed; identify the person who transferred or destroyed such document
                          or other tangible item and the person(s) who authorized or directed that the
                          document or other tangible item be transferred or destroyed; identify all
                          persons having knowledge of such transfer or destruction; and state the
                          reason such document or other tangible item was transferred or destroyed;
                          and

                  d.      Identify all persons having knowledge of the contents thereof.

            4.    When asked to identify a person, include the person's:

                  a.      full name;

                  b.      present business address and telephone number;

                  c.      present home address and telephone number;

                  d.      present business affiliation, title and duties; and

                  e.      relationship to you.

            5.    All electronically stored documents and data should be produced in the electronic

   format in which they are kept. In producing documents consisting only of electronically-stored

   data in machine-readable form in response to any document request, provide such data in a form

   that does not require specialized or proprietary hardware or software.

            6.    Please promptly supplement your responses to all of these discovery requests as

   this action continues, to the full extent required by the rules.

                                              DEFINITIONS

            As used in these discovery requests, the following terms have the meaning described

   below:

            1.     You. "You," "yours," "State Farm," and similar terms refer to Defendant State

   Farm Fire and Casualty Company (and its respective agents, attorneys, and employees, or other

   persons acting or purporting to act on its behalf).

            2.     Insureds. "Insureds" refers to Plaintiffs Jacquelyne D. Fiala and William T. Fiala

   (and their respective agents, attorneys, and employees, or other persons acting or purporting to act


                                                      3



Case 3:24-cv-00050         Document 1-1          Filed 01/17/24       Page 124 of 140 PageID #: 128
   on their behalf).

          3.       Property. "Property" refers to the real property and improvements located at 7707

   Indian Springs Drive, Nashville, Tennessee 37221.

           4.      Policy. "Policy" refers to Insureds' homeowners' insurance policy for the Property,

   which was written by State Farm, Policy No. 42B6P0230.

           5.      Claim. "Claim" refers to Claim No. 4242K709Z filed by Insureds with State Farm

   related to damage to the Property's roof and interior ceilings.

           6.      Communication. "Communication" means any and all forms of communication

   between or among two or more persons, including but not limited to in-person meetings and

   conversations, telephone calls, voicemail or answering machine messages, letters, notes,

   memoranda, e-mail, and facsimile forms as applicable.

           7.      Relating, Regarding, or Concerning. The terms "relating to," "concerning" or

   "regarding" shall mean concerning, in whole or in part and without limitation, relating to,

   regarding, constituting, pertinent, relevant or material to, evidencing, having a bearing on, or

   affecting, discussing and/or otherwise dealing with the subject matter in any manner whatsoever.

           8.      As used in these discovery requests, singular designations include the plural and

   plural the singular; masculine, feminine, and neuter gender include each other, and past tense

   includes the present and present the past.




                                                     4


Case 3:24-cv-00050         Document 1-1         Filed 01/17/24       Page 125 of 140 PageID #: 129
            PLAINTIFFS' FIRST SET OF INTERROGATORIES TO DEFENDANT

          INTERROGATORY NO. l: Describe with specificity each and every basis for State

   Farm's failure to agree to a full roof replacement for the Property.

   ANSWER:



          INTERROGATORY NO. 2: Describe all facts that support State Farm's contention that

   its proposed repairs would comply with applicable building codes when it proposes replacing two

   slopes of the roof the Property with shingles that do not match the existing shingles' size.

   ANSWER:




          INTERROGATORY NO. 3: Identify all persons, other than your attorneys, that possess

   knowledge of the facts described in the Complaint. Include a description of the specific facts

   which you believe he or she has knowledge.

   ANSWER:



          INTERROGATORY NO. 4: Identify all State Farm adjustors who visited the Property

   related to Insureds' Claim. For each, provide the date of their visit, the date of their estimate, and

   contact information.

   ANSWER:



          INTERROGATORY NO. 5:                    . Identify each person whom State Farm expects to call

   as an expert witness at trial, state the subject matter on which the expert is expected to testify, state

   the substance of the facts and opinions to which the expert is expected to testify and a summary of

   the grounds for each opinion, the witness's qualifications (including a list of all publications



                                                      5



Case 3:24-cv-00050         Document 1-1          Filed 01/17/24         Page 126 of 140 PageID #: 130
   authored in the previous ten years), a list of all other cases in which, during the previous four vears,

   the witness testified as an expert, and a statement of the compensation to be paid for the study and

   testimony in the case.

   ANSWER:




           INTERROGATORY NO. 6: Describe with particularity each and every reason why

   State Farm fails to communicate with Insureds in writing after Insureds expressly requested

   exclusive communication in writing.

   ANSWER:




                                                      6



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                           PLAINTIFFS' FIRST REQUESTS FOR
                       PRODUCTION OF DOCUMENTS TO DEFENDANT

            REQUEST FOR PRODUCTION NO. 1: Produce all documents and communications

   identified or relied upon in answering the interrogatories above.

   RESPONSE:



            REQUEST FOR PRODUCTION NO. 2: Produce all documents and communications

   that support or otherwise relate to the allegations in the Complaint.

   RESPONSE:



            REQUEST FOR PRODUCTION NO. 3: Produce all documents and communications

   that support or otherwise relate to any defenses State Farm asserts in this case.

   RESPONSE:

            REQUEST FOR PRODUCTION NO. 4: Produce                   all      communications,   including

   recorded conversations, between State Farm and Insureds related to the Claim.

   RESPONSE:



            REQUEST FOR PRODUCTION NO. 5: Produce a copy of Insureds' Policy that was

   in effect at the time of the Claim was filed by Insureds.

   RESPONSE:



            REQUEST FOR PRODUCTION NO. 6: Produce                      all     internal   State    Farm

   communications, including recorded conversations, regarding the Property and/or Insureds'

   Claim.

   RESPONSE:



                                                     7


Case 3:24-cv-00050        Document 1-1          Filed 01/17/24         Page 128 of 140 PageID #: 132
          REQUEST FOR PRODUCTION NO. 7: Produce                      all   communications,   including

   recorded conversations, between State Fann and the exterior and interior adjusters that visited the

   Property in or around Spring 2022 regarding the Property and/or Insureds' Claim.

   RESPONSE:



          REQUEST FOR PRODUCTION NO. 8: Produce all documents, photos, videos, and

   samples related to the exterior and interior estimates performed by State Farm's agents in or around

   Spring 2022.

   RESPONSE:



          REQUEST FOR PRODUCTION NO. 9: Produce all documents, communications,

   photos, videos, and recorded conversations with State Farm's agent, Vic (see Paragraph 24 of

   Insureds' Complaint) regarding the Property and/or Insureds' Claim.

   RESPONSE:



          REQUEST FOR PRODUCTION NO. 10: Produce all                       State Fann policies and

   procedures that refer or relate to claims handling.

   RESPONSE:



          REQUEST FOR PRODUCTION NO. 11: Produce all documents and communications

   that refer or relate to State Farm's shingle matching analysis.

   RESPONSE:




                                                     8



Case 3:24-cv-00050        Document 1-1          Filed 01/17/24         Page 129 of 140 PageID #: 133
          REQUEST FOR PRODUCTION NO. 12: Produce all documents and communications

   that refer or relate to State Farm's determination whether the shingles located by State Farm's

   matching analysis adequately matched the existing shingles on the Property.

   RESPONSE:



          REQUEST FOR PRODUCTION NO. 13: For each individual identified in response to

   Interrogatory No. 5, produce a copy of their expert reports and current curriculum vitae.

   RESPONSE:



                                                Respectfully submitted,


                                                By: Isl Jacquelyne D. Fiala
                                                      Jacquelyne D. Fiala (TN Bar No. 30498)
                                                      7707 Indian Springs Drive
                                                      Nashville, Tennessee 37221
                                                      Tel: (615) 364-6251
                                                     jackiedfiala@gmail.com




                                   CERTIFICATE OF SERVICE

          A true and correct copy of the foregoing document was served upon Defendant State Fann
   Fire and Casualty Company on Novembe~ 2023 via service to the Commissioner of the
   Tennessee Department of Commerce and Insurance with the Complaint.
                                                P--       -J'°r
                                                           By: Isl Jacquelyne D. Fiala
                                                           Jacquelyne D. Fiala




                                                      9


Case 3:24-cv-00050        Document 1-1         Filed 01/17/24         Page 130 of 140 PageID #: 134
        IN THE CHANCERY COURT FOR THE TWENTIETH JUDICIAL DISTRICT
                         AT NASHVILLE, TENNESSEE

   JACQUELYNE D. FIALA and                               )
   WILLIAM T. FIALA,                                     )
                                                         )
            Plaintiffs,                                  )
                                                         )
   v.                                                    )       Case No.
                                                         )
   STATE FARM FIRE AND CASUALTY                          )       JURY DEMAND
   COMPANY,                                              )
                                                         )
            Defendant.                                   )


                  PLAINTIFFS' FffiST SET OF REQUESTS FOR ADMISSIONS
                     TO STATE FARM FIRE AND CASUALTY COMPANY


            Pursuant to Tenn. R. Civ. P. 26 and 36, Plaintiffs Jacquelyne D. Fiala and William T. Fiala

   (collectively, "Insureds") propound the following First Requests for Admission to Defendant State

   Farm Fire and Casualty Company, NAIC CoCode 25143, ("State Farm") to be responded to

   separately and fully, under oath, within forty-five (45) days after the date of service of these

   Requests upon you or your attorney.

                                              DEFINITIONS

            As used in these discovery requests, the following terms have the meaning described

   below:

            1.      You. "You," "yours," "State Farm," and similar terms refer to Defendant State

   Farm Fire and Casualty Company (and its respective agents, attorneys, and employees, or other

   persons acting or purporting to act on its behalf).

            2.      Insureds. "Insureds" refers to Plaintiffs Jacquelyne D. Fiala and William T. Fiala

   (and their respective agents, attorneys, and employees, or other persons acting or purporting to act

   on their behalf).

                                                     1




Case 3:24-cv-00050         Document 1-1         Filed 01/17/24       Page 131 of 140 PageID #: 135
          3.      Property. "Property" refers to the real property and improvements located at 7707

   Indian Springs Drive, Nashville, Tennessee 37221.

          4.      Policy. "Policy"refers to Insureds' homeowners' insurance policy for the Property,

   which was written by State Farm, Policy No. 42B6P0230.

          5.      Claim. "Claim" refers to Claim No. 4242K709Z filed by Insureds with State Farm

   related to damage to the Property's roof and interior ceilings.

          6.      Communication. "Communication" means any and all forms of communication

   between or among two or more persons, including but not limited to in-person meetings and

   conversations, telephone calls, voicemail or answering machine messages, letters, notes,

   memoranda, e-mail, and facsimile forms as applicable.

          7.      Relating, Regarding, or Concerning. The terms "relating to," "concerning" or

   "regarding" shall mean concerning, in whole or in part and without limitation, relating to,

   regarding, constituting, pertinent, relevant or material to, evidencing, having a bearing on, or

   affecting, discussing and/or otherwise dealing with the subject matter in any manner whatsoever.

          8.      As used in these discovery requests, singular designations include the plural and

   plural the singular; masculine, feminine, and neuter gender include each other, and past tense

   includes the present and present the past.




                                                     2




Case 3:24-cv-00050        Document 1-1          Filed 01/17/24       Page 132 of 140 PageID #: 136
            DEFENDANT'S FIRST REQUESTS FOR ADMISSION TO PLAINTIFF


          1.      Admit that the damage to the Property's roof and the water damage to the

   Property's interior ceilings constitutes one "occurrence" under the Insureds' Policy.


          RESPONSE:



          2.      Admit that the damage to the Property was covered under Insureds' Policy.

          RESPONSE:




          3.      Admit that there was evidence of hail damage to the Property, as determined by

   State Farm's agent on or about July 27, 2022.

          RESPONSE:




          4.      Admit that State Farm failed to send Insureds any documentation related to the July

   27, 2022 State Farm adjuster visit to the Property.

          RESPONSE:




          5.      Admit that State Farm did not respond to Insureds' June 21, 2022 correspondence,

   attached to the Complaint as Exhibit D, in writing.

          RESPONSE:




                                                    3




Case 3:24-cv-00050        Document 1-1         Filed 01/17/24       Page 133 of 140 PageID #: 137
          6.     Admit that State Farm failed to respond to Insureds' July 27, 2022 voicemail.

          RESPONSE:




          7.     Admit that State Farm failed to notify Insureds that it had issued the revised

   estimate on or around September 17, 2022, which is attached to the Complaint as Exhibit E.

          RESPONSE:




          8.      Admit that the total cost of repairs in State Farm's September 17, 2022 estimate

   attached to the Complaint as Exhibit Eis lower than the estimate from State Farm's adjuster that

   visited the Property on or around July 27, 2022.

          RESPONSE:




          9.      Admit that State Farm failed to respond to Insureds' agent's email attached to the

   Complaint as Exhibit G.

          RESPONSE:




          10.     Admit that State Farm failed to respond to Insureds' September 27, 2022 email

   attached to the Complaint as Exhibit H.

          RESPONSE:




                                                      4




Case 3:24-cv-00050        Document 1-1        Filed 01/17/24       Page 134 of 140 PageID #: 138
           11.    Admit that State Farm failed to respond to Insureds' September 30, 2022 email

   attached to the Complaint as Exhibit I.

          RESPONSE:




           12.    Admit that State Farm failed to issue a written response to Insureds' September 30,

   2022 email attached to the Complaint as Exhibit I, even after a State Farm representative agreed

   to do so.

          RESPONSE:




           13.    Admit that, on or around October 18, 2022, Insureds requested all communications

   between State Farm and Insureds regarding the Claim be in writing.

           RESPONSE:




           14.    Admit that Marty Luffman is still an active State Farm agent.

           RESPONSE:




           15.    Admit that the building code sections attached to the Complaint as Exhibit Lare

   applicable to the Property.

           RESPONSE:




                                                   5




Case 3:24-cv-00050        Document 1-1        Filed 01/17/24       Page 135 of 140 PageID #: 139
          16.     Admit that on or around March 17, 2023, State Farm requested Insureds send an

   estimate for a full roof replacement.

          RESPONSE:




          17.     Admit that State Farm failed to respond in writing to Insureds' May 17, 2023

   correspondence attached to the Complaint as Exhibit P.

          RESPONSE:




          18.     Admit that State Farm informed Insureds it would approve a partial roof

   replacement in or around May/June 2023.

          RESPONSE:




          19.     Admit that the existing shingles on the roof are discontinued.

          RESPONSE:




          20.     Admit that State Farm recommended Insureds install Owens Coming Supreme

   Brand shingles in the color Brownwood for the repairs to the Property.

          RESPONSE:




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          21.    Admit that the shingle comparison report attached to the Complaint as Exhibit R

   compares the shingles recommended by State Farm to the existing shingles on the Property.

          RESPONSE:




          22.     Admit that the shingle match test performed by Itel at Insureds' agent's request

   shows that the existing shingles on the Property are discontinued and unavailable.

          RESPONSE:




          23.     Admit that State Farm failed to send an adjuster to review the interior damage, as

   promised on the August 8, 2023 call with Insureds.

          RESPONSE:




          24.     Admit that on or around October 9, 2023, State Farm notified Insureds that State

   Farm management reviewed Insureds' claim and added another slope of the Property's roof to the

   area State Farm agreed to replace.

          RESPONSE:




          25.     Admit that on or around October 9, 2023, State Farm notified Insureds that there

   was a size difference between the shingles State Farm recommended for the partial roof

   replacement and the existing shingles on the Property.

          RESPONSE:



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          26.     Admit that on or around October 9, 2023, State Farm notified Insureds that it was

   adding another roof slope to the replacement area due to the size difference of the shingles State

   Farm recommended for the partial roof replacement and the existing shingles on the Property.

          RESPONSE:




          27.     Admit that State Farm failed to provide to Insureds in writing any of the information

   disclosed in State Farm's October 9, 2023 voicemail.

          RESPONSE:




          28.     Admit that since Insureds field their Claim, State Farm has reassigned Insureds'

   Claim to different claims representatives at least fourteen times.

          RESPONSE:




          29.     Admit that if Insureds' losses attributable to their Claim exceed the deductible,

   State Farm is obligated to cover the losses in excess of the deductible.

          RESPONSE:




          30.     Admit that a full roofreplacement would exceed Insureds' deductible.


          RESPONSE:




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                                             Respectfully submitted,


                                             By: Isl Jacquelyne D. Fiala
                                                   Jacquelyne D. Fiala (TN Bar No. 30498)
                                                   7707 Indian Springs Drive
                                                   Nashville, Tennessee 37221
                                                   Tel: (615) 364-6251
                                                  jackiedfiala@gmail.com




                                 CERTIFICATE OF SERVICE

          A true and correct copy of the foregoing document was served upon Defendant State Farm
   Fire and Casualty Company on November-K2023 via service to the Commissioner of the
   Tennessee Department of Commerce and Insurance with the Complaint.
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                                                     By: Isl Jacquelyne D. Fiala
                                                     Jacquelyne D. Fiala




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                   Department of Commerce & Insurance
                   500 James Robertson Pkwy
                   Service of Process 10th Floor
                   Nashville, TN 37243-0565                          I II JI 11
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                                                               Corporation Service Company
                                                                   2908 Poston Avenue
                                                                   Nashville, TN 37203




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